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                            Exhibit C
        DEFENDANTS’ JOINT PROPOSED CLAIM
           CONSTRUCTIONS AND SUPPORT
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                                        Exhibit 1 – Defendants’ Preliminary Claim Construction Chart
    For U.S. Patent No. 5,715,314 (“the ‘314 Patent), U.S. Patent No. 5,909,492 (“the ‘492 Patent”), and U.S. Patent No. 7,272,639 (“the ‘639
                                                      Patent”) (Agreed by All Defendants),1

Claim Element(s)                   Defendants’ Construction          Support for Construction

Claim 34 and Its Dependent
Claims of The ‘314 Patent

34. A network-based sales          a payment message -               “Whenever the present application states that one computer sends a URL
system, comprising:                                                  to another computer, it should be understood that in preferred
at least one buyer computer for    a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
operation by a user desiring to    for one or more products,         unless a URL message is specified as a redirection in the present
buy products;                      containing an authenticated
                                                                     application. The request message includes components of the URL as
at least one shopping cart         user’s payment information and
                                   sent to the buyer computer        described by the standard HTTP protocol definition. These URL
computer; and
a shopping cart database                                             components in the request message allow the server to provide a
connected to said shopping                                           response appropriate to the URL. The term "URL" as used the present
cart computer;                                                       application is an example of a "link," which is a pointer to another
said buyer computer and said                                         document or form (including multimedia documents, hypertext
shopping cart computer being                                         documents including other links, or audio/video documents).” 9:51-63
interconnected by a computer
network; said buyer computer
being programmed to receive a                                        “A payment URL looks like this:
plurality of requests from a                                         http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
user to add a plurality of                                           2” App. E, SOV0000149 (emphasis added).
respective products to a
shopping cart in said shopping                                       “Shopping Cart Mechanism
cart database, and, in response                                      how to write payment and shopping cart URLs
to said requests to add said                                         These two types of URLs are very similar:
products, to send a plurality of                                     Payment URL:


1
 Nothing in this Defendants’ Preliminary Claim Construction Chart should be caused as a waiver of Defendants’ invalidity defenses under 35
U.S.C. §112. Defendants expressly preserve their rights to continue to pursue their invalidity defenses under 35 U.S.C. §112 subsequent to the
Court’s Claim Construction.


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Claim Element(s)                 Defendants’ Construction   Support for Construction

respective shopping cart                                    http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
messages to said shopping cart                              Add to shopping cart URL:
computer each of which                                      http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
comprises a product identifier                              here’s what a TICKET is: A TICKET is a signed collection of name-value
identifying one of said                                     pairs.” App. E, SOV0000155-156, (emphasis added).
plurality of products; said
shopping cart computer being                                “The user browses through the advertising document and eventually requests a
programmed to receive said                                  product (step 32). This results in the buyer computer sending payment URL A
plurality of shopping cart                                  to the payment computer (step 34). Payment URL A includes a product
messages, to modify said                                    identifier that represents the product the user wishes to buy, a domain identifier
shopping cart in said shopping                              that represents a domain of products to which the desired product belongs, a
cart database to reflect said                               payment amount that represents the price of the product, a merchant computer
plurality of requests to add                                identifier that represents merchant computer 14, a merchant account identifier
said plurality of products to                               that represents the particular merchant account to be credited with the payment
said shopping cart, and to                                  amount, a duration time that represents the length of time for which access to
cause a payment message                                     the product is to be granted to the user after completion of the purchase
associated with said shopping                               transaction, an expiration time that represents a deadline beyond which this
cart to be created; and                                     particular payment URL cannot be used, a buyer network address, and a
                                                            payment URL authenticator that is a digital signature based on a cryptographic
                                                            key. The payment URL authenticator is a hash of other information in the
                                                            payment URL, the hash being defined by a key shared by the merchant and the
                                                            operator of the payment computer.

                                                            In an alternative embodiment, step 34 consists of the buyer computer
                                                            sending a purchase product message to the merchant computer, and the
                                                            merchant computer provides payment VRL A to the buyer computer in
                                                            response to the purchase product message. In this alternative embodiment,
                                                            payment URL A contains the same contents as above. The buyer computer
                                                            then sends the payment URL A it has received from the merchant
                                                            computer to the payment computer.

                                                            When the payment computer receives the payment URL it verifies whether the
                                                            payment URL authenticator was created from the contents of the payment URL
                                                            using the cryptographic key (step 36). If not, the payment computer sends a


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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         document to the buyer computer indicating that access to the network sales
                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or
                                                         updates a payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81. The payment computer returns the
                                                         contents of the shopping cart to the buyer computer (step 120), which displays
                                                         the contents of the shopping cart (step 122). If the user requests that the entire
                                                         contents of the shopping cart be purchased (step 124) the buyer computer
                                                         causes the payment URL for the shopping cart to be activated (step 126)
                                                         and the payment URL is processed in a manner analogous to the processing of
                                                         payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                         8:3-32 (emphasis added).




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Claim Element(s)                    Defendants’ Construction          Support for Construction

said buyer computer being           to cause said payment message     “The user then either requests more advertisements (step 24 in FIG. 2) and
programmed to receive a             to be activated -                 possibly adds another product to the shopping cart, requests display of the
request from said user to                                             shopping cart (step 116), or requests purchase of the entire contents of the
purchase said plurality of          upon request of the               shopping cart (step 124). If the user requests display of the shopping cart (step
products added to said              authenticated user, the buyer     116), the buyer computer sends a fetch shopping cart request to the payment
shopping cart and to cause          computer causes the submission    computer (step 118), and the payment computer and buyer computer (step 119)
said payment message to be          of said payment message           perform steps analogous to steps 64-81. The payment computer returns the
activated to initiate a payment                                       contents of the shopping cart to the buyer computer (step 120), which displays
transaction for said plurality of                                     the contents of the shopping cart (step 122). If the user requests that the entire
products added to said                                                contents of the shopping cart be purchased (step 124) the buyer computer
shopping cart;                                                        causes the payment URL for the shopping cart to be activated (step 126)
                                                                      and the payment URL is processed in a manner analogous to the processing of
said shopping cart being a                                            payment URLs for individual products (beginning with step 36 in FIG. 2).”
stored representation of a                                            8:14-32 (emphasis added).
collection of products, said
shopping cart database being a
database of stored
representations of collections
of products, and said shopping
cart computer being a
computer that modifies said
stored representations of
collections of products in said
database.

35. A network-based sales           a payment message -               “Whenever the present application states that one computer sends a URL
system in accordance with                                             to another computer, it should be understood that in preferred
claim 34, wherein said              a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
shopping cart computer is           for one or more products,         unless a URL message is specified as a redirection in the present
programmed to cause said            containing an authenticated
                                                                      application. The request message includes components of the URL as
payment message to be               user’s payment information and
                                    sent to the buyer computer        described by the standard HTTP protocol definition. These URL
created
                                                                      components in the request message allow the server to provide a
                                                                      response appropriate to the URL. The term "URL" as used the present



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         application is an example of a "link," which is a pointer to another
                                                         document or form (including multimedia documents, hypertext
                                                         documents including other links, or audio/video documents).” 9:51-63
                                                         “A payment URL looks like this:
                                                         http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                         2” App. E, SOV0000149 (emphasis added).

                                                         “Shopping Cart Mechanism
                                                         how to write payment and shopping cart URLs
                                                         These two types of URLs are very similar:
                                                         Payment URL:
                                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs.” App. E, SOV0000155-156, (emphasis added).

                                                         “The user browses through the advertising document and eventually requests a
                                                         product (step 32). This results in the buyer computer sending payment URL A
                                                         to the payment computer (step 34). Payment URL A includes a product
                                                         identifier that represents the product the user wishes to buy, a domain identifier
                                                         that represents a domain of products to which the desired product belongs, a
                                                         payment amount that represents the price of the product, a merchant computer
                                                         identifier that represents merchant computer 14, a merchant account identifier
                                                         that represents the particular merchant account to be credited with the payment
                                                         amount, a duration time that represents the length of time for which access to
                                                         the product is to be granted to the user after completion of the purchase
                                                         transaction, an expiration time that represents a deadline beyond which this
                                                         particular payment URL cannot be used, a buyer network address, and a
                                                         payment URL authenticator that is a digital signature based on a cryptographic
                                                         key. The payment URL authenticator is a hash of other information in the
                                                         payment URL, the hash being defined by a key shared by the merchant and the




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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         operator of the payment computer.

                                                         In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                         purchase product message to the merchant computer, and the merchant
                                                         computer provides payment VRL A to the buyer computer in response to the
                                                         purchase product message. In this alternative embodiment, payment URL A
                                                         contains the same contents as above. The buyer computer then sends the
                                                         payment URL A it has received from the merchant computer to the payment
                                                         computer.

                                                         When the payment computer receives the payment URL it verifies whether the
                                                         payment URL authenticator was created from the contents of the payment URL
                                                         using the cryptographic key (step 36). If not, the payment computer sends a
                                                         document to the buyer computer indicating that access to the network sales
                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step



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Claim Element(s)                Defendants’ Construction          Support for Construction

                                                                  116), the buyer computer sends a fetch shopping cart request to the payment
                                                                  computer (step 118), and the payment computer and buyer computer (step 119)
                                                                  perform steps analogous to steps 64-81. The payment computer returns the
                                                                  contents of the shopping cart to the buyer computer (step 120), which displays
                                                                  the contents of the shopping cart (step 122). If the user requests that the entire
                                                                  contents of the shopping cart be purchased (step 124) the buyer computer
                                                                  causes the payment URL for the shopping cart to be activated (step 126) and
                                                                  the payment URL is processed in a manner analogous to the processing of
                                                                  payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                                  8:3-32 (emphasis added).


before said buyer computer      to cause said payment message     “The user then either requests more advertisements (step 24 in FIG. 2) and
causes said payment message     to be activated -                 possibly adds another product to the shopping cart, requests display of the
to be activated.                                                  shopping cart (step 116), or requests purchase of the entire contents of the
                                upon request of the               shopping cart (step 124). If the user requests display of the shopping cart (step
                                authenticated user, the buyer     116), the buyer computer sends a fetch shopping cart request to the payment
                                computer causes the submission    computer (step 118), and the payment computer and buyer computer (step 119)
                                of said payment message           perform steps analogous to steps 64-81. The payment computer returns the
                                                                  contents of the shopping cart to the buyer computer (step 120), which displays
                                                                  the contents of the shopping cart (step 122). If the user requests that the entire
                                                                  contents of the shopping cart be purchased (step 124) the buyer computer
                                                                  causes the payment URL for the shopping cart to be activated (step 126)
                                                                  and the payment URL is processed in a manner analogous to the processing of
                                                                  payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                                  8:14-32 (emphasis added).

49. A network-based sales       a payment message -               “Whenever the present application states that one computer sends a URL
system in accordance with                                         to another computer, it should be understood that in preferred
claim 34, wherein the buyer     a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
computer activates the          for one or more products,         unless a URL message is specified as a redirection in the present
payment message by              containing an authenticated
                                                                  application. The request message includes components of the URL as
transmitting a message to the   user’s payment information and
                                                                  described by the standard HTTP protocol definition. These URL
shopping cart computer that



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Claim Element(s)                Defendants’ Construction     Support for Construction

causes the payment message to   sent to the buyer computer   components in the request message allow the server to provide a
be activated.                                                response appropriate to the URL. The term "URL" as used the present
                                                             application is an example of a "link," which is a pointer to another
                                                             document or form (including multimedia documents, hypertext
                                                             documents including other links, or audio/video documents).” 9:51-63
                                                             “A payment URL looks like this:
                                                             http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                             2” App. E, SOV0000149 (emphasis added).

                                                             “Shopping Cart Mechanism
                                                             how to write payment and shopping cart URLs
                                                             These two types of URLs are very similar:
                                                             Payment URL:
                                                             http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                             Add to shopping cart URL:
                                                             http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                             here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                             pairs.” App. E, SOV0000155-156, (emphasis added).

                                                             “The user browses through the advertising document and eventually requests a
                                                             product (step 32). This results in the buyer computer sending payment URL A
                                                             to the payment computer (step 34). Payment URL A includes a product
                                                             identifier that represents the product the user wishes to buy, a domain identifier
                                                             that represents a domain of products to which the desired product belongs, a
                                                             payment amount that represents the price of the product, a merchant computer
                                                             identifier that represents merchant computer 14, a merchant account identifier
                                                             that represents the particular merchant account to be credited with the payment
                                                             amount, a duration time that represents the length of time for which access to
                                                             the product is to be granted to the user after completion of the purchase
                                                             transaction, an expiration time that represents a deadline beyond which this
                                                             particular payment URL cannot be used, a buyer network address, and a
                                                             payment URL authenticator that is a digital signature based on a cryptographic
                                                             key. The payment URL authenticator is a hash of other information in the



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         payment URL, the hash being defined by a key shared by the merchant and the
                                                         operator of the payment computer.

                                                         In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                         purchase product message to the merchant computer, and the merchant
                                                         computer provides payment VRL A to the buyer computer in response to the
                                                         purchase product message. In this alternative embodiment, payment URL A
                                                         contains the same contents as above. The buyer computer then sends the
                                                         payment URL A it has received from the merchant computer to the payment
                                                         computer.

                                                         When the payment computer receives the payment URL it verifies whether the
                                                         payment URL authenticator was created from the contents of the payment URL
                                                         using the cryptographic key (step 36). If not, the payment computer sends a
                                                         document to the buyer computer indicating that access to the network sales
                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the



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                                                                   shopping cart (step 124). If the user requests display of the shopping cart (step
                                                                   116), the buyer computer sends a fetch shopping cart request to the payment
                                                                   computer (step 118), and the payment computer and buyer computer (step 119)
                                                                   perform steps analogous to steps 64-81. The payment computer returns the
                                                                   contents of the shopping cart to the buyer computer (step 120), which displays
                                                                   the contents of the shopping cart (step 122). If the user requests that the entire
                                                                   contents of the shopping cart be purchased (step 124) the buyer computer
                                                                   causes the payment URL for the shopping cart to be activated (step 126) and
                                                                   the payment URL is processed in a manner analogous to the processing of
                                                                   payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                                   8:3-32 (emphasis added).


60. A network-based sales        a shopping cart URL -             “Whenever the present application states that one computer sends a URL
system in accordance with                                          to another computer, it should be understood that in preferred
claim 34, wherein at least one   a standard HTTP request           embodiments the URL is sent in a standard HTTP request message,
of the requests comprises a      message send by the buyer         unless a URL message is specified as a redirection in the present
shopping cart URL.               computer to the shopping cart     application. The request message includes components of the URL as
                                 computer which causes the         described by the standard HTTP protocol definition. These URL
                                 shopping cart computer to         components in the request message allow the server to provide a
                                 modify content of a shopping
                                                                   response appropriate to the URL. The term "URL" as used the present
                                 cart and includes URL with a
                                 product identifier, a domain      application is an example of a "link," which is a pointer to another
                                 identifier, a payment amount, a   document or form (including multimedia documents, hypertext
                                 merchant computer identifier, a   documents including other links, or audio/video documents).” 9:51-63
                                 merchant account identifier, a
                                 duration time, an expiration
                                 time, and a shopping cart URL     “With reference now to FIG. 3, when the merchant computer sends the
                                 authenticator.                    advertising document to the buyer computer, the user may request that a
                                                                   product be added to a shopping cart in the shopping cart database rather than
                                                                   request that the product be purchased immediately. The buyer computer sends a
                                                                   shopping cart URL to the payment computer (step 108), the shopping cart
                                                                   URL including a product identifier, a domain identifier, a payment amount, a
                                                                   merchant computer identifier, a merchant account identifier, a duration time, an



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                                                         expiration time, and a shopping cart URL authenticator that is a digital
                                                         signature based on a cryptographic key. The shopping cart URL authenticator
                                                         is a hash of other information in the shopping cart URL, the hash being
                                                         defined by a key shared by the merchant and the operator of the payment
                                                         computer.

                                                         The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81.” 7:51-8:23 (emphasis added).

                                                         “Shopping Cart Mechanism
                                                         how to write payment and shopping cart URLs
                                                         These two types of URLs are very similar:
                                                         Payment URL:
                                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs. … A CARTTICKET is the same as a TICKET except that it may also
                                                         contain a ‘details=DETAILS’ field. A DETAILS is an escaped name/value
                                                         string constructed by calling url_unparse ARRAY where url_unparse is defined



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Claim Element(s)              Defendants’ Construction          Support for Construction

                                                                in /omi/httpd/payment/root/lib/ticket.tcl and ARRAY is a tcl array with items in
                                                                it:
                                                                set a (size) XL
                                                                set a (color) blue
                                                                url_unparse a

                                                                This returns things like: color=blue&size=XL
                                                                The details item is just carried along through the shopping cart and [eventually]
                                                                entered into the order that goes to the merchant’s order entry system.” App. E,
                                                                SOV0000155-156, (emphasis added).


65. A network-based sales     a shopping cart URL -             “Whenever the present application states that one computer sends a URL
system in accordance with                                       to another computer, it should be understood that in preferred
claim 60, wherein the         a standard HTTP request           embodiments the URL is sent in a standard HTTP request message,
shopping cart URL comprises   message send by the buyer         unless a URL message is specified as a redirection in the present
a product identifier.         computer to the shopping cart     application. The request message includes components of the URL as
                              computer which causes the         described by the standard HTTP protocol definition. These URL
                              shopping cart computer to         components in the request message allow the server to provide a
                              modify content of a shopping
                                                                response appropriate to the URL. The term "URL" as used the present
                              cart and includes URL with a
                              product identifier, a domain      application is an example of a "link," which is a pointer to another
                              identifier, a payment amount, a   document or form (including multimedia documents, hypertext
                              merchant computer identifier, a   documents including other links, or audio/video documents).” 9:51-63
                              merchant account identifier, a
                              duration time, an expiration
                              time, and a shopping cart URL     “With reference now to FIG. 3, when the merchant computer sends the
                              authenticator.                    advertising document to the buyer computer, the user may request that a
                                                                product be added to a shopping cart in the shopping cart database rather than
                                                                request that the product be purchased immediately. The buyer computer sends a
                                                                shopping cart URL to the payment computer (step 108), the shopping cart
                                                                URL including a product identifier, a domain identifier, a payment amount, a
                                                                merchant computer identifier, a merchant account identifier, a duration time, an
                                                                expiration time, and a shopping cart URL authenticator that is a digital



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                                                         signature based on a cryptographic key. The shopping cart URL authenticator
                                                         is a hash of other information in the shopping cart URL, the hash being
                                                         defined by a key shared by the merchant and the operator of the payment
                                                         computer.

                                                         The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81.” 7:51-8:23 (emphasis added).

                                                         “Shopping Cart Mechanism
                                                         how to write payment and shopping cart URLs
                                                         These two types of URLs are very similar:
                                                         Payment URL:
                                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs. … A CARTTICKET is the same as a TICKET except that it may also
                                                         contain a ‘details=DETAILS’ field. A DETAILS is an escaped name/value
                                                         string constructed by calling url_unparse ARRAY where url_unparse is defined
                                                         in /omi/httpd/payment/root/lib/ticket.tcl and ARRAY is a tcl array with items in



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Claim Element(s)              Defendants’ Construction          Support for Construction

                                                                it:
                                                                set a (size) XL
                                                                set a (color) blue
                                                                url_unparse a

                                                                This returns things like: color=blue&size=XL
                                                                The details item is just carried along through the shopping cart and [eventually]
                                                                entered into the order that goes to the merchant’s order entry system.” App. E,
                                                                SOV0000155-156, (emphasis added).


74. A network-based sales     a payment message -               “Whenever the present application states that one computer sends a URL
system in accordance with                                       to another computer, it should be understood that in preferred
claim 34, wherein the buyer   a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
computer activates the        for one or more products,         unless a URL message is specified as a redirection in the present
                              containing an authenticated
payment message by                                              application. The request message includes components of the URL as
                              user’s payment information and
transmitting a message to     sent to the buyer computer        described by the standard HTTP protocol definition. These URL
the shopping cart computer                                      components in the request message allow the server to provide a
that causes the payment                                         response appropriate to the URL. The term "URL" as used the present
message to be activated;                                        application is an example of a "link," which is a pointer to another
wherein the shopping cart                                       document or form (including multimedia documents, hypertext
computer transmits a                                            documents including other links, or audio/video documents).” 9:51-63
payment confirmation
document to the buyer
computer.                                                       “A payment URL looks like this:
                                                                http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                                2” App. E, SOV0000149 (emphasis added).

                                                                “Shopping Cart Mechanism
                                                                how to write payment and shopping cart URLs
                                                                These two types of URLs are very similar:
                                                                Payment URL:
                                                                http://payment.openmarket.com/bin/nph-payment.cgi?TICKET



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs.” App. E, SOV0000155-156, (emphasis added).

                                                         “The user browses through the advertising document and eventually requests a
                                                         product (step 32). This results in the buyer computer sending payment URL A
                                                         to the payment computer (step 34). Payment URL A includes a product
                                                         identifier that represents the product the user wishes to buy, a domain identifier
                                                         that represents a domain of products to which the desired product belongs, a
                                                         payment amount that represents the price of the product, a merchant computer
                                                         identifier that represents merchant computer 14, a merchant account identifier
                                                         that represents the particular merchant account to be credited with the payment
                                                         amount, a duration time that represents the length of time for which access to
                                                         the product is to be granted to the user after completion of the purchase
                                                         transaction, an expiration time that represents a deadline beyond which this
                                                         particular payment URL cannot be used, a buyer network address, and a
                                                         payment URL authenticator that is a digital signature based on a cryptographic
                                                         key. The payment URL authenticator is a hash of other information in the
                                                         payment URL, the hash being defined by a key shared by the merchant and the
                                                         operator of the payment computer.

                                                         In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                         purchase product message to the merchant computer, and the merchant
                                                         computer provides payment VRL A to the buyer computer in response to the
                                                         purchase product message. In this alternative embodiment, payment URL A
                                                         contains the same contents as above. The buyer computer then sends the
                                                         payment URL A it has received from the merchant computer to the payment
                                                         computer.

                                                         When the payment computer receives the payment URL it verifies whether the
                                                         payment URL authenticator was created from the contents of the payment URL
                                                         using the cryptographic key (step 36). If not, the payment computer sends a
                                                         document to the buyer computer indicating that access to the network sales



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81. The payment computer returns the
                                                         contents of the shopping cart to the buyer computer (step 120), which displays
                                                         the contents of the shopping cart (step 122). If the user requests that the entire
                                                         contents of the shopping cart be purchased (step 124) the buyer computer
                                                         causes the payment URL for the shopping cart to be activated (step 126) and
                                                         the payment URL is processed in a manner analogous to the processing of
                                                         payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                         8:3-32 (emphasis added).


Claim 39 and Its Dependent
Claims of The ‘314 Patent


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Claim Element(s)                Defendants’ Construction          Support for Construction

39. A method of operating a     a payment message -               “Whenever the present application states that one computer sends a URL
shopping cart computer in a                                       to another computer, it should be understood that in preferred
computer network                a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
comprising at least one         for one or more products,         unless a URL message is specified as a redirection in the present
                                containing an authenticated
buyer computer for                                                application. The request message includes components of the URL as
                                user’s payment information and
operation by a user desiring    sent to the buyer computer        described by the standard HTTP protocol definition. These URL
to buy products, at least one                                     components in the request message allow the server to provide a
shopping cart computer, and                                       response appropriate to the URL. The term "URL" as used the present
a shopping cart database                                          application is an example of a "link," which is a pointer to another
connected to said shopping                                        document or form (including multimedia documents, hypertext
cart computer, said method                                        documents including other links, or audio/video documents).” 9:51-63
comprising the steps of:
receiving, at said shopping
cart computer, a plurality of                                     “A payment URL looks like this:
shopping cart messages sent                                       http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                                  2” App. E, SOV0000149 (emphasis added).
to said shopping cart
computer by said buyer                                            “Shopping Cart Mechanism
computer in response to                                           how to write payment and shopping cart URLs
receipt of a plurality of                                         These two types of URLs are very similar:
requests from a user to add a                                     Payment URL:
plurality of respective                                           http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
products to a shopping cart                                       Add to shopping cart URL:
in said shopping cart                                             http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
database, each of said                                            here’s what a TICKET is: A TICKET is a signed collection of name-value
shopping cart messages                                            pairs.” App. E, SOV0000155-156, (emphasis added).
comprising a product
                                                                  “The user browses through the advertising document and eventually requests a
identifier identifying one of                                     product (step 32). This results in the buyer computer sending payment URL A
said plurality of products;                                       to the payment computer (step 34). Payment URL A includes a product
modifying said shopping                                           identifier that represents the product the user wishes to buy, a domain identifier
cart in said shopping cart                                        that represents a domain of products to which the desired product belongs, a
database to reflect said                                          payment amount that represents the price of the product, a merchant computer



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Claim Element(s)                Defendants’ Construction   Support for Construction

plurality of requests to add                               identifier that represents merchant computer 14, a merchant account identifier
said plurality of products to                              that represents the particular merchant account to be credited with the payment
said shopping cart; and                                    amount, a duration time that represents the length of time for which access to
                                                           the product is to be granted to the user after completion of the purchase
causing a payment                                          transaction, an expiration time that represents a deadline beyond which this
                                                           particular payment URL cannot be used, a buyer network address, and a
message associated with
                                                           payment URL authenticator that is a digital signature based on a cryptographic
said shopping cart to be                                   key. The payment URL authenticator is a hash of other information in the
created;                                                   payment URL, the hash being defined by a key shared by the merchant and the
                                                           operator of the payment computer.

                                                           In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                           purchase product message to the merchant computer, and the merchant
                                                           computer provides payment VRL A to the buyer computer in response to the
                                                           purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.

                                                           When the payment computer receives the payment URL it verifies whether the
                                                           payment URL authenticator was created from the contents of the payment URL
                                                           using the cryptographic key (step 36). If not, the payment computer sends a
                                                           document to the buyer computer indicating that access to the network sales
                                                           system is denied (step 38). Otherwise, the payment computer determines
                                                           whether the expiration time has past (step 40). If it has, the payment computer
                                                           sends a document to the buyer computer indicating that the time has expired
                                                           (step 41). Otherwise, the payment computer checks the buyer computer network
                                                           address to see if it matches the one specified in the payment URL (step 42).”
                                                           5:27- 6:2 (emphasis added).

                                                           “The payment computer verifies whether the shopping cart URL authenticator
                                                           was created from the contents of the shopping cart URL using a cryptographic
                                                           key (step 110). If not, the payment computer sends a document to the buyer
                                                           computer indicating that access to the network sales system is denied (step



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Claim Element(s)               Defendants’ Construction         Support for Construction

                                                                112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                                user authentication is performed (step 113) in a manner analogous to steps 40-
                                                                81. Once the user is authenticated, the payment computer creates or updates a
                                                                payment URL for the shopping cart (step 114).

                                                                The user then either requests more advertisements (step 24 in FIG. 2) and
                                                                possibly adds another product to the shopping cart, requests display of the
                                                                shopping cart (step 116), or requests purchase of the entire contents of the
                                                                shopping cart (step 124). If the user requests display of the shopping cart (step
                                                                116), the buyer computer sends a fetch shopping cart request to the payment
                                                                computer (step 118), and the payment computer and buyer computer (step 119)
                                                                perform steps analogous to steps 64-81. The payment computer returns the
                                                                contents of the shopping cart to the buyer computer (step 120), which displays
                                                                the contents of the shopping cart (step 122). If the user requests that the entire
                                                                contents of the shopping cart be purchased (step 124) the buyer computer
                                                                causes the payment URL for the shopping cart to be activated (step 126) and
                                                                the payment URL is processed in a manner analogous to the processing of
                                                                payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                                8:3-32 (emphasis added).


said buyer computer being      to cause said payment message    “The user then either requests more advertisements (step 24 in FIG. 2) and
programmed to receive a        to be activated -                possibly adds another product to the shopping cart, requests display of the
request from said user to                                       shopping cart (step 116), or requests purchase of the entire contents of the
purchase said plurality of     upon request of the              shopping cart (step 124). If the user requests display of the shopping cart (step
                               authenticated user, the buyer    116), the buyer computer sends a fetch shopping cart request to the payment
products added to said
                               computer causes the submission   computer (step 118), and the payment computer and buyer computer (step 119)
shopping cart and to cause     of said payment message          perform steps analogous to steps 64-81. The payment computer returns the
said payment message to                                         contents of the shopping cart to the buyer computer (step 120), which displays
be activated to initiate a                                      the contents of the shopping cart (step 122). If the user requests that the entire
payment transaction for said                                    contents of the shopping cart be purchased (step 124) the buyer computer
plurality of products added                                     causes the payment URL for the shopping cart to be activated (step 126)
to said shopping cart;                                          and the payment URL is processed in a manner analogous to the processing of
                                                                payment URLs for individual products (beginning with step 36 in FIG. 2).”



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Claim Element(s)               Defendants’ Construction          Support for Construction

said shopping cart being a                                       8:14-32 (emphasis added).
stored representation of a
collection of products, said
shopping cart database
being a database of stored
representations of
collections of products, and
said shopping cart computer
being a computer that
modifies said stored
representations of
collections of products in
said database.

109. The method of claim       a payment message -               “Whenever the present application states that one computer sends a URL
39, wherein the buyer                                            to another computer, it should be understood that in preferred
computer activates the         a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
payment message by             for one or more products,         unless a URL message is specified as a redirection in the present
                               containing an authenticated
transmitting a message to                                        application. The request message includes components of the URL as
                               user’s payment information and
the shopping cart computer     sent to the buyer computer        described by the standard HTTP protocol definition. These URL
that causes the payment                                          components in the request message allow the server to provide a
message to be activated.                                         response appropriate to the URL. The term "URL" as used the present
                                                                 application is an example of a "link," which is a pointer to another
                                                                 document or form (including multimedia documents, hypertext
                                                                 documents including other links, or audio/video documents).” 9:51-63


                                                                 “A payment URL looks like this:
                                                                 http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                                 2” App. E, SOV0000149 (emphasis added).

                                                                 “Shopping Cart Mechanism


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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         how to write payment and shopping cart URLs
                                                         These two types of URLs are very similar:
                                                         Payment URL:
                                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs.” App. E, SOV0000155-156, (emphasis added).

                                                         “The user browses through the advertising document and eventually requests a
                                                         product (step 32). This results in the buyer computer sending payment URL A
                                                         to the payment computer (step 34). Payment URL A includes a product
                                                         identifier that represents the product the user wishes to buy, a domain identifier
                                                         that represents a domain of products to which the desired product belongs, a
                                                         payment amount that represents the price of the product, a merchant computer
                                                         identifier that represents merchant computer 14, a merchant account identifier
                                                         that represents the particular merchant account to be credited with the payment
                                                         amount, a duration time that represents the length of time for which access to
                                                         the product is to be granted to the user after completion of the purchase
                                                         transaction, an expiration time that represents a deadline beyond which this
                                                         particular payment URL cannot be used, a buyer network address, and a
                                                         payment URL authenticator that is a digital signature based on a cryptographic
                                                         key. The payment URL authenticator is a hash of other information in the
                                                         payment URL, the hash being defined by a key shared by the merchant and the
                                                         operator of the payment computer.

                                                         In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                         purchase product message to the merchant computer, and the merchant
                                                         computer provides payment VRL A to the buyer computer in response to the
                                                         purchase product message. In this alternative embodiment, payment URL A
                                                         contains the same contents as above. The buyer computer then sends the
                                                         payment URL A it has received from the merchant computer to the payment
                                                         computer.




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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         When the payment computer receives the payment URL it verifies whether the
                                                         payment URL authenticator was created from the contents of the payment URL
                                                         using the cryptographic key (step 36). If not, the payment computer sends a
                                                         document to the buyer computer indicating that access to the network sales
                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81. The payment computer returns the
                                                         contents of the shopping cart to the buyer computer (step 120), which displays
                                                         the contents of the shopping cart (step 122). If the user requests that the entire
                                                         contents of the shopping cart be purchased (step 124) the buyer computer
                                                         causes the payment URL for the shopping cart to be activated (step 126) and
                                                         the payment URL is processed in a manner analogous to the processing of
                                                         payment URLs for individual products (beginning with step 36 in FIG. 2).”




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Claim Element(s)              Defendants’ Construction          Support for Construction

                                                                8:3-32 (emphasis added).


120. The method of claim      a shopping cart URL -             “Whenever the present application states that one computer sends a URL
39, wherein at least one of                                     to another computer, it should be understood that in preferred
the requests comprises a      a standard HTTP request           embodiments the URL is sent in a standard HTTP request message,
shopping cart URL.            message send by the buyer         unless a URL message is specified as a redirection in the present
                              computer to the shopping cart     application. The request message includes components of the URL as
                              computer which causes the         described by the standard HTTP protocol definition. These URL
                              shopping cart computer to         components in the request message allow the server to provide a
                              modify content of a shopping
                                                                response appropriate to the URL. The term "URL" as used the present
                              cart and includes URL with a
                              product identifier, a domain      application is an example of a "link," which is a pointer to another
                              identifier, a payment amount, a   document or form (including multimedia documents, hypertext
                              merchant computer identifier, a   documents including other links, or audio/video documents).” 9:51-63
                              merchant account identifier, a
                              duration time, an expiration
                              time, and a shopping cart URL     “With reference now to FIG. 3, when the merchant computer sends the
                              authenticator.                    advertising document to the buyer computer, the user may request that a
                                                                product be added to a shopping cart in the shopping cart database rather than
                                                                request that the product be purchased immediately. The buyer computer sends a
                                                                shopping cart URL to the payment computer (step 108), the shopping cart
                                                                URL including a product identifier, a domain identifier, a payment amount, a
                                                                merchant computer identifier, a merchant account identifier, a duration time, an
                                                                expiration time, and a shopping cart URL authenticator that is a digital
                                                                signature based on a cryptographic key. The shopping cart URL authenticator
                                                                is a hash of other information in the shopping cart URL, the hash being
                                                                defined by a key shared by the merchant and the operator of the payment
                                                                computer.

                                                                The payment computer verifies whether the shopping cart URL authenticator
                                                                was created from the contents of the shopping cart URL using a cryptographic
                                                                key (step 110). If not, the payment computer sends a document to the buyer
                                                                computer indicating that access to the network sales system is denied (step



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81.” 7:51-8:23 (emphasis added).

                                                         “Shopping Cart Mechanism
                                                         how to write payment and shopping cart URLs
                                                         These two types of URLs are very similar:
                                                         Payment URL:
                                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs. … A CARTTICKET is the same as a TICKET except that it may also
                                                         contain a ‘details=DETAILS’ field. A DETAILS is an escaped name/value
                                                         string constructed by calling url_unparse ARRAY where url_unparse is defined
                                                         in /omi/httpd/payment/root/lib/ticket.tcl and ARRAY is a tcl array with items in
                                                         it:
                                                         set a (size) XL
                                                         set a (color) blue
                                                         url_unparse a

                                                         This returns things like: color=blue&size=XL
                                                         The details item is just carried along through the shopping cart and [eventually]
                                                         entered into the order that goes to the merchant’s order entry system.” App. E,




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                                                                SOV0000155-156, (emphasis added).


125. The method of claim      a shopping cart URL -             “Whenever the present application states that one computer sends a URL
120, wherein the shopping                                       to another computer, it should be understood that in preferred
cart URL comprises a          a standard HTTP request           embodiments the URL is sent in a standard HTTP request message,
product identifier.           message send by the buyer         unless a URL message is specified as a redirection in the present
                              computer to the shopping cart     application. The request message includes components of the URL as
                              computer which causes the         described by the standard HTTP protocol definition. These URL
                              shopping cart computer to         components in the request message allow the server to provide a
                              modify content of a shopping
                                                                response appropriate to the URL. The term "URL" as used the present
                              cart and includes URL with a
                              product identifier, a domain      application is an example of a "link," which is a pointer to another
                              identifier, a payment amount, a   document or form (including multimedia documents, hypertext
                              merchant computer identifier, a   documents including other links, or audio/video documents).” 9:51-63
                              merchant account identifier, a
                              duration time, an expiration
                              time, and a shopping cart URL     “With reference now to FIG. 3, when the merchant computer sends the
                              authenticator.                    advertising document to the buyer computer, the user may request that a
                                                                product be added to a shopping cart in the shopping cart database rather than
                                                                request that the product be purchased immediately. The buyer computer sends a
                                                                shopping cart URL to the payment computer (step 108), the shopping cart
                                                                URL including a product identifier, a domain identifier, a payment amount, a
                                                                merchant computer identifier, a merchant account identifier, a duration time, an
                                                                expiration time, and a shopping cart URL authenticator that is a digital
                                                                signature based on a cryptographic key. The shopping cart URL authenticator
                                                                is a hash of other information in the shopping cart URL, the hash being
                                                                defined by a key shared by the merchant and the operator of the payment
                                                                computer.

                                                                The payment computer verifies whether the shopping cart URL authenticator
                                                                was created from the contents of the shopping cart URL using a cryptographic
                                                                key (step 110). If not, the payment computer sends a document to the buyer
                                                                computer indicating that access to the network sales system is denied (step



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                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81.” 7:51-8:23 (emphasis added).

                                                         “Shopping Cart Mechanism
                                                         how to write payment and shopping cart URLs
                                                         These two types of URLs are very similar:
                                                         Payment URL:
                                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs. … A CARTTICKET is the same as a TICKET except that it may also
                                                         contain a ‘details=DETAILS’ field. A DETAILS is an escaped name/value
                                                         string constructed by calling url_unparse ARRAY where url_unparse is defined
                                                         in /omi/httpd/payment/root/lib/ticket.tcl and ARRAY is a tcl array with items in
                                                         it:
                                                         set a (size) XL
                                                         set a (color) blue
                                                         url_unparse a

                                                         This returns things like: color=blue&size=XL
                                                         The details item is just carried along through the shopping cart and [eventually]
                                                         entered into the order that goes to the merchant’s order entry system.” App. E,




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Claim Element(s)              Defendants’ Construction          Support for Construction

                                                                SOV0000155-156, (emphasis added).


134. The method of claim      a payment message -               “Whenever the present application states that one computer sends a URL
39, wherein the buyer                                           to another computer, it should be understood that in preferred
computer activates the        a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
payment message by            for one or more products,         unless a URL message is specified as a redirection in the present
                              containing an authenticated
transmitting a message to                                       application. The request message includes components of the URL as
                              user’s payment information and
the shopping cart computer    sent to the buyer computer        described by the standard HTTP protocol definition. These URL
that causes the payment                                         components in the request message allow the server to provide a
message to be activated;                                        response appropriate to the URL. The term "URL" as used the present
wherein the shopping cart                                       application is an example of a "link," which is a pointer to another
computer transmits a                                            document or form (including multimedia documents, hypertext
payment confirmation                                            documents including other links, or audio/video documents).” 9:51-63
document to the buyer
computer.
                                                                “A payment URL looks like this:
                                                                http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                                2” App. E, SOV0000149 (emphasis added).

                                                                “Shopping Cart Mechanism
                                                                how to write payment and shopping cart URLs
                                                                These two types of URLs are very similar:
                                                                Payment URL:
                                                                http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                                Add to shopping cart URL:
                                                                http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                                here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                                pairs.” App. E, SOV0000155-156, (emphasis added).

                                                                “The user browses through the advertising document and eventually requests a
                                                                product (step 32). This results in the buyer computer sending payment URL A
                                                                to the payment computer (step 34). Payment URL A includes a product



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                                                         identifier that represents the product the user wishes to buy, a domain identifier
                                                         that represents a domain of products to which the desired product belongs, a
                                                         payment amount that represents the price of the product, a merchant computer
                                                         identifier that represents merchant computer 14, a merchant account identifier
                                                         that represents the particular merchant account to be credited with the payment
                                                         amount, a duration time that represents the length of time for which access to
                                                         the product is to be granted to the user after completion of the purchase
                                                         transaction, an expiration time that represents a deadline beyond which this
                                                         particular payment URL cannot be used, a buyer network address, and a
                                                         payment URL authenticator that is a digital signature based on a cryptographic
                                                         key. The payment URL authenticator is a hash of other information in the
                                                         payment URL, the hash being defined by a key shared by the merchant and the
                                                         operator of the payment computer.

                                                         In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                         purchase product message to the merchant computer, and the merchant
                                                         computer provides payment VRL A to the buyer computer in response to the
                                                         purchase product message. In this alternative embodiment, payment URL A
                                                         contains the same contents as above. The buyer computer then sends the
                                                         payment URL A it has received from the merchant computer to the payment
                                                         computer.

                                                         When the payment computer receives the payment URL it verifies whether the
                                                         payment URL authenticator was created from the contents of the payment URL
                                                         using the cryptographic key (step 36). If not, the payment computer sends a
                                                         document to the buyer computer indicating that access to the network sales
                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator



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Claim Element(s)               Defendants’ Construction          Support for Construction

                                                                 was created from the contents of the shopping cart URL using a cryptographic
                                                                 key (step 110). If not, the payment computer sends a document to the buyer
                                                                 computer indicating that access to the network sales system is denied (step
                                                                 112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                                 user authentication is performed (step 113) in a manner analogous to steps 40-
                                                                 81. Once the user is authenticated, the payment computer creates or updates a
                                                                 payment URL for the shopping cart (step 114).

                                                                 The user then either requests more advertisements (step 24 in FIG. 2) and
                                                                 possibly adds another product to the shopping cart, requests display of the
                                                                 shopping cart (step 116), or requests purchase of the entire contents of the
                                                                 shopping cart (step 124). If the user requests display of the shopping cart (step
                                                                 116), the buyer computer sends a fetch shopping cart request to the payment
                                                                 computer (step 118), and the payment computer and buyer computer (step 119)
                                                                 perform steps analogous to steps 64-81. The payment computer returns the
                                                                 contents of the shopping cart to the buyer computer (step 120), which displays
                                                                 the contents of the shopping cart (step 122). If the user requests that the entire
                                                                 contents of the shopping cart be purchased (step 124) the buyer computer
                                                                 causes the payment URL for the shopping cart to be activated (step 126) and
                                                                 the payment URL is processed in a manner analogous to the processing of
                                                                 payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                                 8:3-32 (emphasis added).


Claim 17 of The ‘492 Patent

17. A network-based sales      a payment message -               “Whenever the present application states that one computer sends a URL
system, comprising:                                              to another computer, it should be understood that in preferred
                               a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
at least one buyer computer    for one or more products,         unless a URL message is specified as a redirection in the present
                               containing an authenticated
for operation by a user                                          application. The request message includes components of the URL as
                               user’s payment information and
desiring to buy products; at                                     described by the standard HTTP protocol definition. These URL



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least one shopping cart         sent to the buyer computer   components in the request message allow the server to provide a
computer; and                                                response appropriate to the URL. The term "URL" as used the present
a shopping cart database                                     application is an example of a "link," which is a pointer to another
connected to the shopping                                    document or form (including multimedia documents, hypertext
cart computer; the buyer                                     documents including other links, or audio/video documents).” ‘314
computer and the shopping                                    Patent at 9:51-63
cart computer being
interconnected by a public
packet switched computer                                     “A payment URL looks like this:
network;                                                     http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                             2” App. E, SOV0000149 (emphasis added).
the buyer computer being
programmed to receive a                                      “Shopping Cart Mechanism
plurality of requests from a                                 how to write payment and shopping cart URLs
user to add a plurality of                                   These two types of URLs are very similar:
respective products to a                                     Payment URL:
shopping cart in the                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
shopping cart database, and,                                 Add to shopping cart URL:
in response to the requests                                  http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
to add the products, to send                                 here’s what a TICKET is: A TICKET is a signed collection of name-value
a plurality of respective                                    pairs.” App. E of ‘314 Patent, SOV0000155-156, (emphasis added).
shopping cart messages over
                                                             “The user browses through the advertising document and eventually requests a
the network to the shopping                                  product (step 32). This results in the buyer computer sending payment URL A
cart computer each of which                                  to the payment computer (step 34). Payment URL A includes a product
comprises a product                                          identifier that represents the product the user wishes to buy, a domain identifier
identifier identifying one of                                that represents a domain of products to which the desired product belongs, a
the plurality of products and                                payment amount that represents the price of the product, a merchant computer
at least one of which                                        identifier that represents merchant computer 14, a merchant account identifier
comprises a universal                                        that represents the particular merchant account to be credited with the payment
resource locator;                                            amount, a duration time that represents the length of time for which access to
the shopping cart computer                                   the product is to be granted to the user after completion of the purchase
being programmed to                                          transaction, an expiration time that represents a deadline beyond which this



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receive the plurality of                                   particular payment URL cannot be used, a buyer network address, and a
shopping cart messages, to                                 payment URL authenticator that is a digital signature based on a cryptographic
modify the shopping cart in                                key. The payment URL authenticator is a hash of other information in the
the shopping cart database                                 payment URL, the hash being defined by a key shared by the merchant and the
to reflect the plurality of                                operator of the payment computer.
requests to add the plurality                              In an alternative embodiment, step 34 consists of the buyer computer sending a
of products to the shopping                                purchase product message to the merchant computer, and the merchant
cart, and to cause a                                       computer provides payment VRL A to the buyer computer in response to the
payment message                                            purchase product message. In this alternative embodiment, payment URL A
associated with the                                        contains the same contents as above. The buyer computer then sends the
shopping cart to be created,                               payment URL A it has received from the merchant computer to the payment
the payment message                                        computer.
comprising a universal
resource locator; and                                      When the payment computer receives the payment URL it verifies whether the
                                                           payment URL authenticator was created from the contents of the payment URL
                                                           using the cryptographic key (step 36). If not, the payment computer sends a
                                                           document to the buyer computer indicating that access to the network sales
                                                           system is denied (step 38). Otherwise, the payment computer determines
                                                           whether the expiration time has past (step 40). If it has, the payment computer
                                                           sends a document to the buyer computer indicating that the time has expired
                                                           (step 41). Otherwise, the payment computer checks the buyer computer network
                                                           address to see if it matches the one specified in the payment URL (step 42).”
                                                           ‘314 Patent at 5:27- 6:2 (emphasis added).

                                                           “The payment computer verifies whether the shopping cart URL authenticator
                                                           was created from the contents of the shopping cart URL using a cryptographic
                                                           key (step 110). If not, the payment computer sends a document to the buyer
                                                           computer indicating that access to the network sales system is denied (step
                                                           112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                           user authentication is performed (step 113) in a manner analogous to steps 40-
                                                           81. Once the user is authenticated, the payment computer creates or updates a
                                                           payment URL for the shopping cart (step 114).




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                                                               The user then either requests more advertisements (step 24 in FIG. 2) and
                                                               possibly adds another product to the shopping cart, requests display of the
                                                               shopping cart (step 116), or requests purchase of the entire contents of the
                                                               shopping cart (step 124). If the user requests display of the shopping cart (step
                                                               116), the buyer computer sends a fetch shopping cart request to the payment
                                                               computer (step 118), and the payment computer and buyer computer (step 119)
                                                               perform steps analogous to steps 64-81. The payment computer returns the
                                                               contents of the shopping cart to the buyer computer (step 120), which displays
                                                               the contents of the shopping cart (step 122). If the user requests that the entire
                                                               contents of the shopping cart be purchased (step 124) the buyer computer
                                                               causes the payment URL for the shopping cart to be activated (step 126) and
                                                               the payment URL is processed in a manner analogous to the processing of
                                                               payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                               ‘314 Patent at 8:3-32 (emphasis added).


the buyer computer being      to cause the payment message     “The user then either requests more advertisements (step 24 in FIG. 2) and
programmed to receive a       to be activated -                possibly adds another product to the shopping cart, requests display of the
request from the user to                                       shopping cart (step 116), or requests purchase of the entire contents of the
purchase the plurality of     upon request of the              shopping cart (step 124). If the user requests display of the shopping cart (step
                              authenticated user, the buyer    116), the buyer computer sends a fetch shopping cart request to the payment
products added to the
                              computer causes the submission   computer (step 118), and the payment computer and buyer computer (step 119)
shopping cart and to cause    of said payment message          perform steps analogous to steps 64-81. The payment computer returns the
the payment message to be                                      contents of the shopping cart to the buyer computer (step 120), which displays
activated to initiate a                                        the contents of the shopping cart (step 122). If the user requests that the entire
payment transaction for the                                    contents of the shopping cart be purchased (step 124) the buyer computer
plurality of products added                                    causes the payment URL for the shopping cart to be activated (step 126)
to the shopping cart;                                          and the payment URL is processed in a manner analogous to the processing of
the shopping cart being a                                      payment URLs for individual products (beginning with step 36 in FIG. 2).”
stored representation of a                                     ‘314 Patent at 8:14-32 (emphasis added).
collection of products, the
shopping cart database
being a database of stored



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representations of
collections of products, and
the shopping cart computer
being a computer that
modifies the stored
representations of
collections of products in
the database.

18. A method of operating a     a payment message -               “Whenever the present application states that one computer sends a URL
shopping cart computer in a                                       to another computer, it should be understood that in preferred
public packet switched          a message relating to a payment   embodiments the URL is sent in a standard HTTP request message,
computer network                for one or more products,         unless a URL message is specified as a redirection in the present
                                containing an authenticated
comprising at least one                                           application. The request message includes components of the URL as
                                user’s payment information and
buyer computer for              sent to the buyer computer        described by the standard HTTP protocol definition. These URL
operation by a user desiring                                      components in the request message allow the server to provide a
to buy products, at least one                                     response appropriate to the URL. The term "URL" as used the present
shopping cart computer, and                                       application is an example of a "link," which is a pointer to another
a shopping cart database                                          document or form (including multimedia documents, hypertext
connected to the shopping                                         documents including other links, or audio/video documents).” ‘314
cart computer, the method                                         Patent at 9:51-63 (emphasis added).
comprising the steps of:
receiving, at the shopping
cart computer, a plurality of                                     “A payment URL looks like this:
shopping cart messages sent                                       http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                                  2” App. E of ‘314 Patent, SOV0000149 (emphasis added).
over the network to the
shopping cart computer by                                         “Shopping Cart Mechanism
the buyer computer in                                             how to write payment and shopping cart URLs
response to receipt of a                                          These two types of URLs are very similar:
plurality of requests from a                                      Payment URL:
user to add a plurality of                                        http://payment.openmarket.com/bin/nph-payment.cgi?TICKET



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respective products to a                                   Add to shopping cart URL:
shopping cart in the                                       http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
shopping cart database, each                               here’s what a TICKET is: A TICKET is a signed collection of name-value
of the shopping cart                                       pairs.” App. E of ‘314 Patent, SOV0000155-156, (emphasis added).
messages comprising a
                                                           “The user browses through the advertising document and eventually requests a
product identifier                                         product (step 32). This results in the buyer computer sending payment URL A
identifying one of the                                     to the payment computer (step 34). Payment URL A includes a product
plurality of products and at                               identifier that represents the product the user wishes to buy, a domain identifier
least one of which                                         that represents a domain of products to which the desired product belongs, a
comprises a universal                                      payment amount that represents the price of the product, a merchant computer
resource locator; modifying                                identifier that represents merchant computer 14, a merchant account identifier
the shopping cart in the                                   that represents the particular merchant account to be credited with the payment
shopping cart database to                                  amount, a duration time that represents the length of time for which access to
reflect the plurality of                                   the product is to be granted to the user after completion of the purchase
requests to add the plurality                              transaction, an expiration time that represents a deadline beyond which this
                                                           particular payment URL cannot be used, a buyer network address, and a
of products to the shopping
                                                           payment URL authenticator that is a digital signature based on a cryptographic
cart; and                                                  key. The payment URL authenticator is a hash of other information in the
causing a payment                                          payment URL, the hash being defined by a key shared by the merchant and the
message associated with the                                operator of the payment computer.
shopping cart to be created,
the payment message                                        In an alternative embodiment, step 34 consists of the buyer computer sending a
comprising a universal                                     purchase product message to the merchant computer, and the merchant
resource locator;                                          computer provides payment VRL A to the buyer computer in response to the
                                                           purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.

                                                           When the payment computer receives the payment URL it verifies whether the
                                                           payment URL authenticator was created from the contents of the payment URL
                                                           using the cryptographic key (step 36). If not, the payment computer sends a
                                                           document to the buyer computer indicating that access to the network sales



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                                                             system is denied (step 38). Otherwise, the payment computer determines
                                                             whether the expiration time has past (step 40). If it has, the payment computer
                                                             sends a document to the buyer computer indicating that the time has expired
                                                             (step 41). Otherwise, the payment computer checks the buyer computer network
                                                             address to see if it matches the one specified in the payment URL (step 42).”
                                                             ‘314 Patent at 5:27- 6:2 (emphasis added).

                                                             “The payment computer verifies whether the shopping cart URL authenticator
                                                             was created from the contents of the shopping cart URL using a cryptographic
                                                             key (step 110). If not, the payment computer sends a document to the buyer
                                                             computer indicating that access to the network sales system is denied (step
                                                             112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                             user authentication is performed (step 113) in a manner analogous to steps 40-
                                                             81. Once the user is authenticated, the payment computer creates or updates a
                                                             payment URL for the shopping cart (step 114).

                                                             The user then either requests more advertisements (step 24 in FIG. 2) and
                                                             possibly adds another product to the shopping cart, requests display of the
                                                             shopping cart (step 116), or requests purchase of the entire contents of the
                                                             shopping cart (step 124). If the user requests display of the shopping cart (step
                                                             116), the buyer computer sends a fetch shopping cart request to the payment
                                                             computer (step 118), and the payment computer and buyer computer (step 119)
                                                             perform steps analogous to steps 64-81. The payment computer returns the
                                                             contents of the shopping cart to the buyer computer (step 120), which displays
                                                             the contents of the shopping cart (step 122). If the user requests that the entire
                                                             contents of the shopping cart be purchased (step 124) the buyer computer
                                                             causes the payment URL for the shopping cart to be activated (step 126) and
                                                             the payment URL is processed in a manner analogous to the processing of
                                                             payment URLs for individual products (beginning with step 36 in FIG.
                                                             2).”‘314 Patent at 8:3-32 (emphasis added).


the buyer computer being      to cause the payment message   “The user then either requests more advertisements (step 24 in FIG. 2) and
programmed to receive a                                      possibly adds another product to the shopping cart, requests display of the



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request from the user to       to be activated -                shopping cart (step 116), or requests purchase of the entire contents of the
purchase the plurality of                                       shopping cart (step 124). If the user requests display of the shopping cart (step
products added to the          upon request of the              116), the buyer computer sends a fetch shopping cart request to the payment
shopping cart and to cause     authenticated user, the buyer    computer (step 118), and the payment computer and buyer computer (step 119)
                               computer causes the submission   perform steps analogous to steps 64-81. The payment computer returns the
the payment message to be
                               of said payment message          contents of the shopping cart to the buyer computer (step 120), which displays
activated to initiate a
                                                                the contents of the shopping cart (step 122). If the user requests that the entire
payment transaction for the                                     contents of the shopping cart be purchased (step 124) the buyer computer
plurality of products added                                     causes the payment URL for the shopping cart to be activated (step 126)
to the shopping cart;                                           and the payment URL is processed in a manner analogous to the processing of
the shopping cart being a                                       payment URLs for individual products (beginning with step 36 in FIG. 2).”
stored representation of a                                      ‘314 Patent at 8:14-32 (emphasis added).
collection of products, the
shopping cart database
being a database of stored
representations of
collections of products, and
the shopping cart computer
being a computer that
modifies the stored
representations of
collections of products in
the database.

35. A network-based sales
system, comprising:
at least one buyer computer
for operation by a user
desiring to buy products;




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at least one shopping cart
computer; and
a shopping cart database
connected to the shopping
cart computer;
the buyer computer and the
shopping cart computer
being interconnected by a
public packet switched
computer network;
the buyer computer being
programmed to receive a
plurality of requests from a
user to add a plurality of
respective products to a
shopping cart in the
shopping cart database, and,
in response to the requests
to add the products, to send
a plurality of respective
shopping cart messages over
the network to the shopping
cart computer each of which
comprises a product
identifier identifying one of
the plurality of products;
the shopping cart computer
being programmed to
receive the plurality of
shopping cart messages, and
to modify the shopping cart


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Claim Element(s)               Defendants’ Construction          Support for Construction

in the shopping cart
database to reflect the
plurality of requests to add
the plurality of products to
the shopping cart; and

the buyer computer being       to cause a payment message to     “The user then either requests more advertisements (step 24 in FIG. 2) and
programmed to receive a        be activated -                    possibly adds another product to the shopping cart, requests display of the
request from the user to                                         shopping cart (step 116), or requests purchase of the entire contents of the
purchase the plurality of      upon request of the               shopping cart (step 124). If the user requests display of the shopping cart (step
                               authenticated user, the buyer     116), the buyer computer sends a fetch shopping cart request to the payment
products added to the
                               computer causes the submission    computer (step 118), and the payment computer and buyer computer (step 119)
shopping cart and to cause     of said payment message           perform steps analogous to steps 64-81. The payment computer returns the
a payment message to be                                          contents of the shopping cart to the buyer computer (step 120), which displays
activated to initiate a        a payment message -               the contents of the shopping cart (step 122). If the user requests that the entire
payment transaction for the                                      contents of the shopping cart be purchased (step 124) the buyer computer
plurality of products added    a message relating to a payment   causes the payment URL for the shopping cart to be activated (step 126)
to the shopping cart;          for one or more products,         and the payment URL is processed in a manner analogous to the processing of
                               containing an authenticated       payment URLs for individual products (beginning with step 36 in FIG. 2).”
the shopping cart being a      user’s payment information and    ‘314 Patent at 8:14-32 (emphasis added).
stored representation of a     sent to the buyer computer
collection of products, the                                      unless a URL message is specified as a redirection in the present
shopping cart database                                           application. The request message includes components of the URL as
being a database of stored                                       described by the standard HTTP protocol definition. These URL
representations of                                               components in the request message allow the server to provide a
collections of products, and                                     response appropriate to the URL. The term "URL" as used the present
the shopping cart computer                                       application is an example of a "link," which is a pointer to another
being a computer that                                            document or form (including multimedia documents, hypertext
modifies the stored                                              documents including other links, or audio/video documents).” ‘314
representations of                                               Patent at 9:51-63 (emphasis added).
collections of products in
the database.                                                    “A payment URL looks like this:



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                                                         http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
                                                         2” App. E of ‘314 Patent, SOV0000149 (emphasis added).

                                                         “Shopping Cart Mechanism
                                                         how to write payment and shopping cart URLs
                                                         These two types of URLs are very similar:
                                                         Payment URL:
                                                         http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
                                                         Add to shopping cart URL:
                                                         http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
                                                         here’s what a TICKET is: A TICKET is a signed collection of name-value
                                                         pairs.” App. E of ‘314 Patent, SOV0000155-156, (emphasis added).

                                                         “The user browses through the advertising document and eventually requests a
                                                         product (step 32). This results in the buyer computer sending payment URL A
                                                         to the payment computer (step 34). Payment URL A includes a product
                                                         identifier that represents the product the user wishes to buy, a domain identifier
                                                         that represents a domain of products to which the desired product belongs, a
                                                         payment amount that represents the price of the product, a merchant computer
                                                         identifier that represents merchant computer 14, a merchant account identifier
                                                         that represents the particular merchant account to be credited with the payment
                                                         amount, a duration time that represents the length of time for which access to
                                                         the product is to be granted to the user after completion of the purchase
                                                         transaction, an expiration time that represents a deadline beyond which this
                                                         particular payment URL cannot be used, a buyer network address, and a
                                                         payment URL authenticator that is a digital signature based on a cryptographic
                                                         key. The payment URL authenticator is a hash of other information in the
                                                         payment URL, the hash being defined by a key shared by the merchant and the
                                                         operator of the payment computer.

                                                         In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                         purchase product message to the merchant computer, and the merchant
                                                         computer provides payment VRL A to the buyer computer in response to the
                                                         purchase product message. In this alternative embodiment, payment URL A



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         contains the same contents as above. The buyer computer then sends the
                                                         payment URL A it has received from the merchant computer to the payment
                                                         computer.

                                                         When the payment computer receives the payment URL it verifies whether the
                                                         payment URL authenticator was created from the contents of the payment URL
                                                         using the cryptographic key (step 36). If not, the payment computer sends a
                                                         document to the buyer computer indicating that access to the network sales
                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         ‘314 Patent at 5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81. The payment computer returns the
                                                         contents of the shopping cart to the buyer computer (step 120), which displays
                                                         the contents of the shopping cart (step 122). If the user requests that the entire
                                                         contents of the shopping cart be purchased (step 124) the buyer computer



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Claim Element(s)                Defendants’ Construction          Support for Construction

                                                                  causes the payment URL for the shopping cart to be activated (step 126) and
                                                                  the payment URL is processed in a manner analogous to the processing of
                                                                  payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                                  ‘314 Patent at 8:3-32 (emphasis added).


36. A method of operating a     to cause a payment message to     “The user then either requests more advertisements (step 24 in FIG. 2) and
shopping cart computer in a     be activated -                    possibly adds another product to the shopping cart, requests display of the
public packet switched                                            shopping cart (step 116), or requests purchase of the entire contents of the
computer network                upon request of the               shopping cart (step 124). If the user requests display of the shopping cart (step
                                authenticated user, the buyer     116), the buyer computer sends a fetch shopping cart request to the payment
comprising at least one
                                computer causes the submission    computer (step 118), and the payment computer and buyer computer (step 119)
buyer computer for              of said payment message           perform steps analogous to steps 64-81. The payment computer returns the
operation by a user desiring                                      contents of the shopping cart to the buyer computer (step 120), which displays
to buy products, at least one   a payment message -               the contents of the shopping cart (step 122). If the user requests that the entire
shopping cart computer, and                                       contents of the shopping cart be purchased (step 124) the buyer computer
a shopping cart database        a message relating to a payment   causes the payment URL for the shopping cart to be activated (step 126)
connected to the shopping       for one or more products,         and the payment URL is processed in a manner analogous to the processing of
cart computer, the method       containing an authenticated       payment URLs for individual products (beginning with step 36 in FIG. 2).”
comprising the steps of:        user’s payment information and    ‘314 Patent at 8:14-32 (emphasis added).
receiving, at the shopping      sent to the buyer computer
cart computer, a plurality of                                     unless a URL message is specified as a redirection in the present
shopping cart messages sent                                       application. The request message includes components of the URL as
over the network to the                                           described by the standard HTTP protocol definition. These URL
shopping cart computer by                                         components in the request message allow the server to provide a
the buyer computer in                                             response appropriate to the URL. The term "URL" as used the present
response to receipt of a                                          application is an example of a "link," which is a pointer to another
plurality of requests from a                                      document or form (including multimedia documents, hypertext
user to add a plurality of                                        documents including other links, or audio/video documents).” ‘314
respective products to a                                          Patent at 9:51-63 (emphasis added).
shopping cart in the
shopping cart database, each
                                                                  “A payment URL looks like this:



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of the shopping cart                                      http://payment.openmarket.com/pay.cgi?hash:field1=value1&field2=value
messages comprising a                                     2” App. E of ‘314 Patent, SOV0000149 (emphasis added).
product identifier
identifying one of the                                    “Shopping Cart Mechanism
                                                          how to write payment and shopping cart URLs
plurality of products; and
                                                          These two types of URLs are very similar:
modifying the shopping cart                               Payment URL:
in the shopping cart                                      http://payment.openmarket.com/bin/nph-payment.cgi?TICKET
database to reflect the                                   Add to shopping cart URL:
plurality of requests to add                              http://payment.openmarket.com/bin/nph-c1.cgi?CARTTICKET
the plurality of products to                              here’s what a TICKET is: A TICKET is a signed collection of name-value
the shopping cart;                                        pairs.” App. E of ‘314 Patent, SOV0000155-156, (emphasis added).
the buyer computer being
programmed to receive a                                   “The user browses through the advertising document and eventually requests a
request from the user to                                  product (step 32). This results in the buyer computer sending payment URL A
                                                          to the payment computer (step 34). Payment URL A includes a product
purchase the plurality of
                                                          identifier that represents the product the user wishes to buy, a domain identifier
products added to the                                     that represents a domain of products to which the desired product belongs, a
shopping cart and to cause                                payment amount that represents the price of the product, a merchant computer
a payment message to be                                   identifier that represents merchant computer 14, a merchant account identifier
activated to initiate a                                   that represents the particular merchant account to be credited with the payment
payment transaction for the                               amount, a duration time that represents the length of time for which access to
plurality of products added                               the product is to be granted to the user after completion of the purchase
to the shopping cart;                                     transaction, an expiration time that represents a deadline beyond which this
the shopping cart being a                                 particular payment URL cannot be used, a buyer network address, and a
stored representation of a                                payment URL authenticator that is a digital signature based on a cryptographic
collection of products, the                               key. The payment URL authenticator is a hash of other information in the
                                                          payment URL, the hash being defined by a key shared by the merchant and the
shopping cart database
                                                          operator of the payment computer.
being a database of stored
representations of                                        In an alternative embodiment, step 34 consists of the buyer computer sending a
collections of products, and                              purchase product message to the merchant computer, and the merchant
the shopping cart computer                                computer provides payment VRL A to the buyer computer in response to the
being a computer that                                     purchase product message. In this alternative embodiment, payment URL A



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modifies the stored                                      contains the same contents as above. The buyer computer then sends the
representations of                                       payment URL A it has received from the merchant computer to the payment
collections of products in                               computer.
the database.
                                                         When the payment computer receives the payment URL it verifies whether the
                                                         payment URL authenticator was created from the contents of the payment URL
                                                         using the cryptographic key (step 36). If not, the payment computer sends a
                                                         document to the buyer computer indicating that access to the network sales
                                                         system is denied (step 38). Otherwise, the payment computer determines
                                                         whether the expiration time has past (step 40). If it has, the payment computer
                                                         sends a document to the buyer computer indicating that the time has expired
                                                         (step 41). Otherwise, the payment computer checks the buyer computer network
                                                         address to see if it matches the one specified in the payment URL (step 42).”
                                                         ‘314 Patent at 5:27- 6:2 (emphasis added).

                                                         “The payment computer verifies whether the shopping cart URL authenticator
                                                         was created from the contents of the shopping cart URL using a cryptographic
                                                         key (step 110). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access to the network sales system is denied (step
                                                         112). Otherwise, before any modification to a user's shopping cart is allowed,
                                                         user authentication is performed (step 113) in a manner analogous to steps 40-
                                                         81. Once the user is authenticated, the payment computer creates or updates a
                                                         payment URL for the shopping cart (step 114).

                                                         The user then either requests more advertisements (step 24 in FIG. 2) and
                                                         possibly adds another product to the shopping cart, requests display of the
                                                         shopping cart (step 116), or requests purchase of the entire contents of the
                                                         shopping cart (step 124). If the user requests display of the shopping cart (step
                                                         116), the buyer computer sends a fetch shopping cart request to the payment
                                                         computer (step 118), and the payment computer and buyer computer (step 119)
                                                         perform steps analogous to steps 64-81. The payment computer returns the
                                                         contents of the shopping cart to the buyer computer (step 120), which displays
                                                         the contents of the shopping cart (step 122). If the user requests that the entire
                                                         contents of the shopping cart be purchased (step 124) the buyer computer



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                                                               causes the payment URL for the shopping cart to be activated (step 126) and
                                                               the payment URL is processed in a manner analogous to the processing of
                                                               payment URLs for individual products (beginning with step 36 in FIG. 2).”
                                                               ‘314 Patent at 8:3-32 (emphasis added).


Claim 15 and Its Dependent
Claims of The ‘492 patent

15. A hypertext statement      hypertext link -                 “What Is Hypertext?
system, comprising: a client                                        Hypertext offers a way of moving from one document to
computer for operation by a    text in a document that forms   another through word links. Each marked word in a document
client user; and one or more   a navigational element          has a link to another document or resource. This allows you to
server computers for           pointing, for example, to       follow various paths within the system based on the contents of each
operation by a server user;    another document, or form, or   document in a nonlinear fashion, according to subject. For example,
the client computer and the    resource.                       when a word or concept is introduced in one document, you can
server computers being                                         move to another document that may simply be a definition or
interconnected by a public                                     explanation of the term, or even a long document about that subject.
packet switched computer                                       The reader can open the second document, read it, and then return to
network; at least one of the                                   the original, or move on to other documents based on the marked
server computers being                                         words in each new document. Hypermedia works much like hypertext,
programmed to record                                           but allows words in a document to be linked to nontext files of
information pertaining to                                      images, sounds, QuickTime movies, and so on.” The Internet Business
purchase transaction records                                   Book - produced at CNZ0012914. See, e.g., CNZ 13130.
in a database, and to
transmit a statement                                           “The operation of the Web relies on hypertext as its means of interacting
document comprising the                                        with users. Hypertext is basically the same as regular text - it can be
purchase transaction records                                   stored, read, searched, or edited - with an important exception: hypertext
to the client computer over                                    contains connections within the text to other documents.
the network; the client
computer being                                                 For instance, suppose you were able to somehow select (with a mouse or



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programmed to display the                                  with your finger) the word "hypertext" in the sentence before this one. In
statement document to                                      a hypertext system, you would then have one or more documents
receive a request from the                                 related to hypertext appear before you - a history of hypertext, for
client user to display                                     example, or the Webster's definition of hypertext. These new texts
transaction details                                        would themselves have links and connections to other documents -
corresponding to a portion                                 continually selecting text would take you on a free- associative tour
of the statement document                                  of information. In this way, hypertext links, called hyperlinks, can
displayed by the client                                    create a complex virtual web of connections.
computer, at least one of the
server computers being                                     Hypermedia is hypertext with a difference - hypermedia documents
programmed to respond to                                   contain links not only to other pieces of text, but also to other forms of
activation of the transaction                              media - sounds, images, and movies. Images themselves can be selected
detail hypertext link by                                   to link to sounds or documents. Here are some simple examples of
transmitting the transaction                               hypermedia:
details to the client
computer over the network                                  You are reading a text on the Hawaiian language. You select a Hawaiian
as a transaction detail                                    phrase, then hear the phrase as spoken in the native tongue.
document.
                                                           You are a law student studying the Hawaii Revised Statutes. By selecting
                                                           a passage, you find precedents from a 1920 Supreme Court ruling stored
                                                           at Cornell. Cross-referenced hyperlinks allow you to view any one of 520
                                                           related cases with audio annotations.

                                                           Looking at a company's floorplan, you are able to select an office by
                                                           touching a room. The employee's name and picture appears with a list of
                                                           their current projects.

                                                           You are a scientist doing work on the cooling of steel springs. By
                                                           selecting text in a research paper, you are able to view a computer-
                                                           generated movie of a cooling spring. By selecting a button you are able
                                                           to receive a program which will perform thermodynamic calculations.


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Claim Element(s)              Defendants’ Construction   Support for Construction


                                                         A student reading a digital version of an art magazine can select a work
                                                         to print or display in full. If the piece is a sculpture, she can request to
                                                         see a movie of the sculpture rotating. By interactively controlling the
                                                         movie, she can zoom in to see more detail.

                                                         The Web, although still in its early years, allows many of these examples
                                                         to work in real life. It facilitates the easy exchange of hypermedia
                                                         through networked environments from anything as small as two
                                                         Macintoshes connected together to something as large as the global
                                                         Internet.” Entering the World-Wide Web: A Guide to Cyberspace ,
                                                         produced at CNZ0013886. See, e.g., CNZ 13887 (emphasis added).

                                                         “What are hypertext and hypermedia? …

                                                            The documents that the browsers display are hypertext documents.
                                                            Hypertext is text with pointers to other text. The browsers let you
                                                            deal with the pointers in a transparent way - you clicking on a
                                                            part of the text, and you are presented with the text that is pointed
                                                            to.

                                                           Hypermedia is a superset of hypertext -- it is any medium with
                                                           pointers to other media. This means that browsers might not display
                                                           a text file, but might display images or sound or animations.” WWW
                                                         FAQ v. 0.1, see CNZ0014216.

                                                         “Hyper-:
                                                              This prefix has a dictionary meaning of above, excessive or
                                                         beyond. Its use in computing, as exemplified below, is perhaps related to
                                                         analogous jargon or buzzwords coined by the science fiction
                                                         community, e.g. hyperspace, a speculative extra physical dimension.


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                                                         The hyper prefix now has a strong historical momentum, and seems
                                                         likely to endure. However, with hindsight other prefixes such as
                                                         meta-(among, about or between), or inter- might have been more
                                                         accurate descriptors of the structural emphasis of hypermedia; the
                                                         'hyper-level' is strictly at a meta-level to the semantic or content level. (It
                                                         may be interesting to note that in the meantime, metatext has become a
                                                         favourite term of the Structuralist schools of literary criticism, and
                                                         Intermedia is the proprietary name of an advanced hypermedia system.)

                                                               Hypermedia :

                                                              Taken to be a generic approach to constructing non-linear,
                                                         computer-supported materials, as embodied by a number of
                                                         commercial and academic program shells; the term is also used to
                                                         describe the materials themselves. Hypermedia itself is a subset of the
                                                         more general class of interactive multimedia -- not all implementations
                                                         of which support 'hyper' functionality. The term hypermedia will be
                                                         used throughout this book unless the context is uniquely text-based, in
                                                         which case hypertext will be preferred.

                                                              Hypermedia is used here as a singular noun, as per the accepted
                                                         contemporary use of the strictly plural noun data.

                                                               Hypertext:

                                                              Hypertext, and hypertext programs are a subset of hypermedia and
                                                         hypermedia programs (albeit the largest, most central, and probably the
                                                         most commercially significant, see Figure 1.1). Ted Nelson claims
                                                         to have originally coined the term hypertext (meaning writing with
                                                         and for the computer) in the early 1960s.” Hypertext and
                                                         Hypermedia, see e.g., CNZ 15885-15887 (emphasis added).


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                                                         “Hot spots
                                                         Meanwhile, several programs have been made exploring these ideas,
                                                         both commercially and academically. Most of them use "hot spots" in
                                                         documents, like icons, or highlighted phrases, as sensitive areas,
                                                         touching a hot spot with a mouse brings up the relevant information, or
                                                         expands the text on the screen to include it. Imagine, then, the references
                                                         in this document, all being associated with the network address of the
                                                         thing to which they referred, so that while reading this document you
                                                         could skip to them with a click of the mouse.

                                                         "Hypertext" is a term coined in the 1950s by Ted Nelson [...], which has
                                                         become popular for these systems, although it is used to embrace two
                                                         different ideas. One idea (which is relevant to this problem) is the
                                                         concept: "Hypertext": Human- readable information linked together
                                                         in an unconstrained way.

                                                         The other idea, which is independent and largely a question of
                                                         technology and time, is of multimedia documents which include
                                                         graphics, speech and video. I will not discuss this latter aspect further
                                                         here, although I will use the word "Hypermedia" to indicate that one is
                                                         not bound to text.” Information Management: A Proposal, see
                                                         CNZ0021631 (emphasis added).

                                                         “2 / Concepts of Hypertext and Hypermedia

                                                                         Hypertext and Hypermedia-
                                                                          Definition and History

                                                               What does this rainy-night tale have to do with hypertext and
                                                         hypermedia? Everything. The essential distinction of both hypertext


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                                                             and hypermedia is the automation of the linking process that Nancy
                                                             and I went through, first to find General Buford and then to investigate
                                                             the other points that interested us.

                                                                 Hyper-definitions

                                                                     Hypertext is the use of a computer to automate the links and
                                                             follow their paths through chunks of text information until the user
                                                             is satisfied (figures 1.1 and 1.2). The essence of hypermedia is the
                                                             analogous computerized linkage of and navigation through chunks of
                                                             information in several different media (known as multimedia
                                                             information). Non-text information might be two- or three-dimensional
                                                             graphic images, animation, film, video tape, or monaural or stereo sound
                                                             recordings (figure 1.3).” Hypercard, Hypertext & Hypermedia for
                                                             Libraries and Media Centers, see CNZ0022045-22062 (emphasis
                                                             added).

                                                             “Hypermedia - A combination of hypertext (q.v.) and multimedia (q.v.).
                                                             hypertext - Documents that contain links to other documents; selecting
                                                             a link automatically displays the second document.” The Whole
                                                             Internet, see CNZ0024174 (emphasis added).

41. A hypertext statement       statement URL -              “The URL naming system consists of three parts: the
system in accordance with                                    transfer format, the host name of the machine that holds the
claim 15, wherein the           a standard HTTP request      file, and the path to the file. An example of a URL may be:
statement document is sent      message with URL to the      http://www.college.univ. edu/Adir/Bdir/Cdir/page.html,
by at least one of the server   Statement Document           where "http" represents the transfer protocol; a colon and
computers to the client         including its path on the    two forward slashes (://) are used to separate the transfer
computer in response to a       server on which it resides   format from the host name; "www.college.univ.edu" is the
statement URL sent by the                                    host name in which "www" denotes that the file being
client computer to at least                                  requested is a Web page; "/Adir/Bdir/Cdir" is a set of



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one of the server computers.                              directory names in a tree structure, or a path, on the host
                                                          machine; and "page.html" is the file name.” ‘639 patent at 2: 26-36; ‘780
                                                          patent at 2:28-42; Soverain Software LLC v. Amazon.com, Inc. Claim
                                                          Construction Order 4/7/2005 at 5-6 (emphasis added).

                                                          “Whenever the present application states that one computer sends a URL
                                                          to another computer, it should be understood that in preferred
                                                          embodiments the URL is sent in a standard HTTP request message,
                                                          unless a URL message is specified as a redirection in the present
                                                          application. The request message includes components of the URL as
                                                          described by the standard HTTP protocol definition. These URL
                                                          components in the request message allow the server to provide a
                                                          response appropriate to the URL. The term "URL" as used the present
                                                          application is an example of a "link," which is a pointer to another
                                                          document or form (including multimedia documents, hypertext
                                                          documents including other links, or audio/video documents).” The ‘314
                                                          Patent at 9:51-63 (emphasis added).

                                                          “Appendix D describes how documents are named with Uniform
                                                          Resource Locators (URLs) in the network of computers,” ‘314 Patent
                                                          at 10:15-17 (emphasis added)..

                                                          “Current names are basically location specifiers (addresses). These may
                                                          be known as Uniform Resource Locators (URLs). They give the
                                                          necessary parts of an address for a reader to access an information
                                                          provider using the given protocol, and ask for the object required.
                                                          Examples of names used by various protocols include:

                                                          ***

                                                          HTTP (Berners-Lee 1991) Host name or IP-address


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                                                         [TCP port]
                                                         local object id” App. D to the ‘314 Patent at 3-4.

                                                         “Structure of names and addresses.
                                                         A physical address is required in order for
                                                              - The user's program to contact the server
                                                              - The server to search and index, retrieve a object,
                                                         or look up the name;
                                                              - The user's program to locate an individual position
                                                         or element within a object.

                                                         This suggests that a name be structured, such that the parts necessary for
                                                         these three operations be separate and only used by those system
                                                         elements which need those parts. This corresponds to the basic principle
                                                         of information hiding. In fact, four parts are necessary, including the
                                                         indicator of the naming scheme to be used:

                                                         The naming scheme: a registered identifier for the
                                                         protocol.

                                                         The name of a suitable server. The format of this
                                                         part must be well defined. It will depend on the
                                                         lower-layer protocols in use. Systems which use
                                                         widely distributed information, such as x.500 and
                                                         NNTP, do not need this part as each client generally
                                                         contacts his nearest server (or a particular
                                                         server).

                                                         Information to be passed to the server. This may be
                                                         private to the server, as all names may be generated
                                                         and used by the same server. This part of the name


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                                                         should be opaque to the client.

                                                         Information to be used by the application once the
                                                         object has been retrieved. This part is private to
                                                         the application (or, more strictly, the data format)
                                                         and so cannot be defined here.” App. D to the ‘314 Patent at 6-7.

                                                         “This section describes the syntax for. ‘Uniform resource
                                                         Locators’ (URLs) : that is, basically physical addresses of
                                                         objects which are retrievable using protocols already deployed
                                                         on the net. The generic syntax provides a framework for new
                                                         schemes for names to be resolved using as yet undefined
                                                         protocols.

                                                         The syntax is described in two parts. Firstly, we give the
                                                         syntax rules of a completely specified name; secondly, we
                                                         give the rules under which parts of the name may be omitted in
                                                         a well-defined context.

                                                         Full form
                                                         A complete URL consists of a naming scheme specifier
                                                         followed by a string whose format is a function of the naming
                                                         scheme. For locators of information on the internet, a common
                                                         syntax is used for the IP address part. A BNF description of
                                                         the URL syntax is given in an a later section. The components
                                                         are as follows.
                                                         This represents a part of, fragment of, or a sub-function
                                                         within, an object or object. Its syntax and semantics are
                                                         defined by the application responsible for the object, or the
                                                         specification of the content type of the object. The only
                                                         definition here is of the allowed characters by which it may


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                                                         be represented in a URL.
                                                         The fragment-id follows the URL of the whole object from
                                                         which it is separated by a hash sign ( # I . If the fragment-id
                                                         is void, the hash sign may be omitted: A void fragment-id with
                                                         or without the hash sign means that the URL refers to the
                                                         whole object .

                                                         While this hook is allowed for identification of fragments,
                                                         the question of addressing of parts of objects, or of the
                                                         grouping of objects and relationship between contined and
                                                         containing objects, is not addressed by this object.
                                                         This object does not address the question of objects which
                                                         are different versions of a "living" object, nor of expressing
                                                         the relationships between different versions and the living
                                                         object .
                                                         Scheme
                                                         Within the URL of a object, the first element is the name of
                                                         the scheme, separated from the rest of the object by a colon.
                                                         The rest of the URL follows the colon in a format depending on
                                                         the scheme.
                                                         Internet protocol parts
                                                         Those schemes which refer to internet protocols have a
                                                         common syntax for the rest of the object name. This starts
                                                         with a double slash "//" to indicate its presence, and
                                                         continues until the following slash ll/ll. Within that section
                                                         are

                                                         - An optional user name, if this must be quoted to the
                                                         server, followed by a commercial at sign "@I1. (Use
                                                         of this field is discouraged. Provision of encoding
                                                         a password after the user name, delimited by a


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                                                         colon, could be made but obviously is only useful
                                                         when the password is public, in which case it
                                                         should not be necessary, so that is also
                                                         discouraged . )

                                                         - The internet domain name of the host in RFC1037
                                                         format (or, optionally and less advisably, the IP
                                                         address as a set of four decimal digits)

                                                         - The port number, if it is not the default number for
                                                         the protocol, is given in decimal notation after a
                                                         colon.

                                                         Path - The rest of the locator is known as the ‘path.’ It may define
                                                         details of how the client should communicate with the server,
                                                         including information to be passed transparently to the server
                                                         without any processing by the client. The path is interpreted in a
                                                         manner dependent on the protocol being used. However, when it contains
                                                         slashes, these must imply a hierarchical structure.” App. D to ‘314
                                                         Patent, p. 8-9.

                                                         “With reference now to FIG. 4, a user can request display of a "smart
                                                         statement" that lists purchase transactions for a given month (step 128).
                                                         When the buyer computer receives such a request, it sends a smart
                                                         statement URL to the payment computer (step 130).

                                                         When the payment computer receives the smart statement URL, it
                                                         verifies whether the smart statement URL authenticator was created from
                                                         the contents of the smart statement URL using a cryptographic key (step
                                                         132). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access is denied (step 134). Otherwise, the


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                                                         payment computer checks to determine whether the buyer
                                                         network address in the smart statement URL matches the buyer
                                                         computer's actual network address (step 136). If not, the payment
                                                         computer sends a document to the buyer computer indicating that access
                                                         is denied (step 138). Otherwise (step 140), the payment computer and
                                                         buyer computer perform a set of steps analogous to steps 64-81 in FIG. 2
                                                         (payment computer requests account name and password, user provides
                                                         the requested information, and payment computer verifies the
                                                         information).

                                                         In an alternative embodiment steps 132-138 are omitted.

                                                         After verification of account information is complete, the payment
                                                         computer retrieves the requested settlement data from the settlement
                                                         database, creates a smart statement document for the buyer, and sends the
                                                         smart statement document to the buyer computer (step 142). An example
                                                         of a smart statement document is shown in FIG. 11. Each
                                                         purchase transaction record in the smart statement document includes the
                                                         data of the transaction, the name of the merchant, an identification of the
                                                         product, and the payment amount for the product. The smart statement
                                                         document also includes a transaction detail URL for each purchase
                                                         transaction (these URLs, or hypertext links, are discussed below and are
                                                         not shown in FIG. 11). The smart statement document also identifies
                                                         previous statements that the user may wish to have displayed. The buyer
                                                         computer displays the retrieved document (step
                                                         144), and the user may request transaction details for a particular
                                                         transaction listed on the smart statement (step 146). If so, the buyer
                                                         computer sends a transaction detail URL (or "payment detail URL') to
                                                         the payment computer (step 148). The transaction detail URL includes a
                                                         transaction identifier, a buyer network address, and a transaction detail
                                                         URL authenticator. When the payment computer receives the transaction


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                                                               detail URL, it performs (step 150) a set of steps analogous to steps 132-
                                                               140 (verification of URL authenticator, buyer network address, and
                                                               account information). The payment computer then retrieves from the
                                                               settlement database data corresponding to the payment transaction
                                                               specified in the transaction detail URL, creates a
                                                               transaction detail document, and sends it to the buyer computer (step
                                                               152).’ 492 Patent at 8:32-9:19 (emphasis added).
                                                               ‘492 Patent, Fig. 4A.

Claim 16 and Its Dependent
Claims of The ‘492 patent

16. A method of operating a    hypertext link -                 “What Is Hypertext?
server computer in a                                                Hypertext offers a way of moving from one document to
hypertext statement system     text in a document that forms   another through word links. Each marked word in a document
comprising a client            a navigational element          has a link to another document or resource. This allows you to
computer for operation by a    pointing, for example, to       follow various paths within the system based on the contents of each
client user, and one or more   another document, or form, or   document in a nonlinear fashion, according to subject. For example,
server computers for           resource.                       when a word or concept is introduced in one document, you can
operation by a server user,                                    move to another document that may simply be a definition or
the client computer and the                                    explanation of the term, or even a long document about that subject.
server computers being                                         The reader can open the second document, read it, and then return to
interconnected by a public                                     the original, or move on to other documents based on the marked
packet switched computer                                       words in each new document. Hypermedia works much like hypertext,
network, the method                                            but allows words in a document to be linked to nontext files of
comprising the steps of:                                       images, sounds, QuickTime movies, and so on.” The Internet Business
 recording, at one of the                                      Book - produced at CNZ0012914. See, e.g., CNZ 13130 (emphasis
server computers,                                              added).
information pertaining to
purchase transaction records                                   “The operation of the Web relies on hypertext as its means of interacting
in a database; and                                             with users. Hypertext is basically the same as regular text - it can be



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transmitting a statement                                   stored, read, searched, or edited - with an important exception: hypertext
document comprising the                                    contains connections within the text to other documents.
purchase transaction records
to the client computer over                                For instance, suppose you were able to somehow select (with a mouse or
the network; the client                                    with your finger) the word "hypertext" in the sentence before this one. In
computer being                                             a hypertext system, you would then have one or more documents
programmed to display the                                  related to hypertext appear before you - a history of hypertext, for
statement document, to                                     example, or the Webster's definition of hypertext. These new texts
receive a request from the                                 would themselves have links and connections to other documents -
client user to display                                     continually selecting text would take you on a free- associative tour
transaction details                                        of information. In this way, hypertext links, called hyperlinks, can
corresponding to a portion                                 create a complex virtual web of connections.
of the statement document
displayed by the client                                    Hypermedia is hypertext with a difference - hypermedia documents
computer, and to cause a                                   contain links not only to other pieces of text, but also to other forms of
transaction detail hypertext                               media - sounds, images, and movies. Images themselves can be selected
link corresponding to the                                  to link to sounds or documents. Here are some simple examples of
portion of the statement                                   hypermedia:
document to be activated; at
least one of the server                                    You are reading a text on the Hawaiian language. You select a Hawaiian
computers being                                            phrase, then hear the phrase as spoken in the native tongue.
programmed to respond to
activation of the transaction                              You are a law student studying the Hawaii Revised Statutes. By selecting
detail hypertext link by                                   a passage, you find precedents from a 1920 Supreme Court ruling stored
transmitting the transaction                               at Cornell. Cross-referenced hyperlinks allow you to view any one of 520
details to the client                                      related cases with audio annotations.
computer over the network
as a transaction detail                                    Looking at a company's floorplan, you are able to select an office by
document.                                                  touching a room. The employee's name and picture appears with a list of
                                                           their current projects.




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                                                         You are a scientist doing work on the cooling of steel springs. By
                                                         selecting text in a research paper, you are able to view a computer-
                                                         generated movie of a cooling spring. By selecting a button you are able
                                                         to receive a program which will perform thermodynamic calculations.

                                                         A student reading a digital version of an art magazine can select a work
                                                         to print or display in full. If the piece is a sculpture, she can request to
                                                         see a movie of the sculpture rotating. By interactively controlling the
                                                         movie, she can zoom in to see more detail.

                                                         The Web, although still in its early years, allows many of these examples
                                                         to work in real life. It facilitates the easy exchange of hypermedia
                                                         through networked environments from anything as small as two
                                                         Macintoshes connected together to something as large as the global
                                                         Internet.” Entering the World-Wide Web: A Guide to Cyberspace ,
                                                         produced at CNZ0013886. See, e.g., CNZ 13887 (emphasis added).

                                                         “What are hypertext and hypermedia? …

                                                            The documents that the browsers display are hypertext documents.
                                                            Hypertext is text with pointers to other text. The browsers let you
                                                            deal with the pointers in a transparent way - you clicking on a
                                                            part of the text, and you are presented with the text that is pointed
                                                            to.

                                                           Hypermedia is a superset of hypertext -- it is any medium with
                                                           pointers to other media. This means that browsers might not display
                                                           a text file, but might display images or sound or animations.” WWW
                                                         FAQ v. 0.1, see CNZ0014216 (emphasis added).

                                                         “Hyper-:


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                                                               This prefix has a dictionary meaning of above, excessive or
                                                         beyond. Its use in computing, as exemplified below, is perhaps related to
                                                         analogous jargon or buzzwords coined by the science fiction
                                                         community, e.g. hyperspace, a speculative extra physical dimension.
                                                         The hyper prefix now has a strong historical momentum, and seems
                                                         likely to endure. However, with hindsight other prefixes such as
                                                         meta-(among, about or between), or inter- might have been more
                                                         accurate descriptors of the structural emphasis of hypermedia; the
                                                         'hyper-level' is strictly at a meta-level to the semantic or content level. (It
                                                         may be interesting to note that in the meantime, metatext has become a
                                                         favourite term of the Structuralist schools of literary criticism, and
                                                         Intermedia is the proprietary name of an advanced hypermedia system.)

                                                               Hypermedia :

                                                              Taken to be a generic approach to constructing non-linear,
                                                         computer-supported materials, as embodied by a number of
                                                         commercial and academic program shells; the term is also used to
                                                         describe the materials themselves. Hypermedia itself is a subset of the
                                                         more general class of interactive multimedia -- not all implementations
                                                         of which support 'hyper' functionality. The term hypermedia will be
                                                         used throughout this book unless the context is uniquely text-based, in
                                                         which case hypertext will be preferred.

                                                              Hypermedia is used here as a singular noun, as per the accepted
                                                         contemporary use of the strictly plural noun data.

                                                               Hypertext:

                                                              Hypertext, and hypertext programs are a subset of hypermedia and
                                                         hypermedia programs (albeit the largest, most central, and probably the


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                                                         most commercially significant, see Figure 1.1). Ted Nelson claims
                                                         to have originally coined the term hypertext (meaning writing with
                                                         and for the computer) in the early 1960s.” Hypertext and
                                                         Hypermedia, see e.g., CNZ 15885-15887 (emphasis added).

                                                         “Hot spots
                                                         Meanwhile, several programs have been made exploring these ideas,
                                                         both commercially and academically. Most of them use "hot spots" in
                                                         documents, like icons, or highlighted phrases, as sensitive areas,
                                                         touching a hot spot with a mouse brings up the relevant information, or
                                                         expands the text on the screen to include it. Imagine, then, the references
                                                         in this document, all being associated with the network address of the
                                                         thing to which they referred, so that while reading this document you
                                                         could skip to them with a click of the mouse.

                                                         "Hypertext" is a term coined in the 1950s by Ted Nelson [...], which has
                                                         become popular for these systems, although it is used to embrace two
                                                         different ideas. One idea (which is relevant to this problem) is the
                                                         concept: "Hypertext": Human- readable information linked together
                                                         in an unconstrained way.

                                                         The other idea, which is independent and largely a question of
                                                         technology and time, is of multimedia documents which include
                                                         graphics, speech and video. I will not discuss this latter aspect further
                                                         here, although I will use the word "Hypermedia" to indicate that one is
                                                         not bound to text.” Information Management: A Proposal, see
                                                         CNZ0021631 (emphasis added).

                                                         “2 / Concepts of Hypertext and Hypermedia

                                                                         Hypertext and Hypermedia-


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                                                                            Definition and History

                                                                 What does this rainy-night tale have to do with hypertext and
                                                          hypermedia? Everything. The essential distinction of both hypertext
                                                          and hypermedia is the automation of the linking process that Nancy
                                                          and I went through, first to find General Buford and then to investigate
                                                          the other points that interested us.

                                                              Hyper-definitions

                                                                  Hypertext is the use of a computer to automate the links and
                                                          follow their paths through chunks of text information until the user
                                                          is satisfied (figures 1.1 and 1.2). The essence of hypermedia is the
                                                          analogous computerized linkage of and navigation through chunks of
                                                          information in several different media (known as multimedia
                                                          information). Non-text information might be two- or three-dimensional
                                                          graphic images, animation, film, video tape, or monaural or stereo sound
                                                          recordings (figure 1.3).” Hypercard, Hypertext & Hypermedia for
                                                          Libraries and Media Centers, see CNZ0022045-22062 (emphasis
                                                          added).

                                                          “Hypermedia - A combination of hypertext (q.v.) and multimedia (q.v.).
                                                          hypertext - Documents that contain links to other documents; selecting
                                                          a link automatically displays the second document.” The Whole
                                                          Internet, see CNZ0024174 (emphasis added)..

76. The method of claim 16,    statement URL -            “The URL naming system consists of three parts: the
wherein the statement                                     transfer format, the host name of the machine that holds the
document is sent by at least   a standard HTTP request    file, and the path to the file. An example of a URL may be:
one of the server computers    message with URL to the    http://www.college.univ. edu/Adir/Bdir/Cdir/page.html,
to the client computer in      Statement Document         where "http" represents the transfer protocol; a colon and



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response to a statement       including its path on the    two forward slashes (://) are used to separate the transfer
URL sent by the client        server on which it resides   format from the host name; "www.college.univ.edu" is the
computer to at least one of                                host name in which "www" denotes that the file being
the server computers.                                      requested is a Web page; "/Adir/Bdir/Cdir" is a set of
                                                           directory names in a tree structure, or a path, on the host
                                                           machine; and "page.html" is the file name. ‘639 patent at 2:26-36; ‘780
                                                           patent at col. 2: 28-42; Soverain Software LLC v. Amazon.com, Inc.
                                                           Claim Construction Order 4/7/2005 at 5-6 (emphasis added).

                                                           “Whenever the present application states that one computer sends a URL
                                                           to another computer, it should be understood that in preferred
                                                           embodiments the URL is sent in a standard HTTP request message,
                                                           unless a URL message is specified as a redirection in the present
                                                           application. The request message includes components of the URL as
                                                           described by the standard HTTP protocol definition. These URL
                                                           components in the request message allow the server to provide a
                                                           response appropriate to the URL. The term "URL" as used the present
                                                           application is an example of a "link," which is a pointer to another
                                                           document or form (including multimedia documents, hypertext
                                                           documents including other links, or audio/video documents).” The ‘314
                                                           Patent at 9:51-63 (emphasis added).

                                                           “Appendix D describes how documents are named with Uniform
                                                           Resource Locators (URLs) in the network of computers,” ‘314 Patent
                                                           at 10:15-17 (emphasis added).

                                                           “Current names are basically location specifiers (addresses). These may
                                                           be known as Uniform Resource Locators (URLs). They give the
                                                           necessary parts of an address for a reader to access an information
                                                           provider using the given protocol, and ask for the object required.
                                                           Examples of names used by various protocols include:


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                                                         ***

                                                         HTTP (Berners-Lee 1991) Host name or IP-address
                                                         [TCP port]
                                                         local object id” App. D to the ‘314 Patent at 3-4(emphasis added).

                                                         “Structure of names and addresses.
                                                         A physical address is required in order for
                                                              - The user's program to contact the server
                                                              - The server to search and index, retrieve a object,
                                                         or look up the name;
                                                              - The user's program to locate an individual position
                                                         or element within a object.

                                                         This suggests that a name be structured, such that the parts necessary for
                                                         these three operations be separate and only used by those system
                                                         elements which need those parts. This corresponds to the basic principle
                                                         of information hiding. In fact, four parts are necessary, including the
                                                         indicator of the naming scheme to be used:

                                                         The naming scheme: a registered identifier for the
                                                         protocol.

                                                         The name of a suitable server. The format of this
                                                         part must be well defined. It will depend on the
                                                         lower-layer protocols in use. Systems which use
                                                         widely distributed information, such as x.500 and
                                                         NNTP, do not need this part as each client generally
                                                         contacts his nearest server (or a particular
                                                         server).


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                                                         Information to be passed to the server. This may be
                                                         private to the server, as all names may be generated
                                                         and used by the same server. This part of the name
                                                         should be opaque to the client.

                                                         Information to be used by the application once the
                                                         object has been retrieved. This part is private to
                                                         the application (or, more strictly, the data format)
                                                         and so cannot be defined here.” App. D to the ‘314 Patent at 6-7.

                                                         “This section describes the syntax for. ‘Uniform resource
                                                         Locators’ (URLs) : that is, basically physical addresses of
                                                         objects which are retrievable using protocols already deployed
                                                         on the net. The generic syntax provides a framework for new
                                                         schemes for names to be resolved using as yet undefined
                                                         protocols.

                                                         The syntax is described in two parts. Firstly, we give the
                                                         syntax rules of a completely specified name; secondly, we
                                                         give the rules under which parts of the name may be omitted in
                                                         a well-defined context.

                                                         Full form
                                                         A complete URL consists of a naming scheme specifier
                                                         followed by a string whose format is a function of the naming
                                                         scheme. For locators of information on the internet, a common
                                                         syntax is used for the IP address part. A BNF description of
                                                         the URL syntax is given in an a later section. The components
                                                         are as follows.
                                                         This represents a part of, fragment of, or a sub-function


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                                                         within, an object or object. Its syntax and semantics are
                                                         defined by the application responsible for the object, or the
                                                         specification of the content type of the object. The only
                                                         definition here is of the allowed characters by which it may
                                                         be represented in a URL.
                                                         The fragment-id follows the URL of the whole object from
                                                         which it is separated by a hash sign ( # I . If the fragment-id
                                                         is void, the hash sign may be omitted: A void fragment-id with
                                                         or without the hash sign means that the URL refers to the
                                                         whole object .

                                                         While this hook is allowed for identification of fragments,
                                                         the question of addressing of parts of objects, or of the
                                                         grouping of objects and relationship between contined and
                                                         containing objects, is not addressed by this object.
                                                         This object does not address the question of objects which
                                                         are different versions of a "living" object, nor of expressing
                                                         the relationships between different versions and the living
                                                         object .
                                                         Scheme
                                                         Within the URL of a object, the first element is the name of
                                                         the scheme, separated from the rest of the object by a colon.
                                                         The rest of the URL follows the colon in a format depending on
                                                         the scheme.
                                                         Internet protocol parts
                                                         Those schemes which refer to internet protocols have a
                                                         common syntax for the rest of the object name. This starts
                                                         with a double slash "//" to indicate its presence, and
                                                         continues until the following slash ll/ll. Within that section
                                                         are




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                                                         - An optional user name, if this must be quoted to the
                                                         server, followed by a commercial at sign "@I1. (Use
                                                         of this field is discouraged. Provision of encoding
                                                         a password after the user name, delimited by a
                                                         colon, could be made but obviously is only useful
                                                         when the password is public, in which case it
                                                         should not be necessary, so that is also
                                                         discouraged . )

                                                         - The internet domain name of the host in RFC1037
                                                         format (or, optionally and less advisably, the IP
                                                         address as a set of four decimal digits)

                                                         - The port number, if it is not the default number for
                                                         the protocol, is given in decimal notation after a
                                                         colon.

                                                         Path - The rest of the locator is known as the ‘path.’ It may define
                                                         details of how the client should communicate with the server,
                                                         including information to be passed transparently to the server
                                                         without any processing by the client. The path is interpreted in a
                                                         manner dependent on the protocol being used. However, when it contains
                                                         slashes, these must imply a hierarchical structure.” App. D to ‘314
                                                         Patent, p. 8-9 (emphasis added).

                                                         “With reference now to FIG. 4, a user can request display of a "smart
                                                         statement" that lists purchase transactions for a given month (step 128).
                                                         When the buyer computer receives such a request, it sends a smart
                                                         statement URL to the payment computer (step 130).

                                                         When the payment computer receives the smart statement URL, it


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                                                         verifies whether the smart statement URL authenticator was created from
                                                         the contents of the smart statement URL using a cryptographic key (step
                                                         132). If not, the payment computer sends a document to the buyer
                                                         computer indicating that access is denied (step 134). Otherwise, the
                                                         payment computer checks to determine whether the buyer
                                                         network address in the smart statement URL matches the buyer
                                                         computer's actual network address (step 136). If not, the payment
                                                         computer sends a document to the buyer computer indicating that access
                                                         is denied (step 138). Otherwise (step 140), the payment computer and
                                                         buyer computer perform a set of steps analogous to steps 64-81 in FIG. 2
                                                         (payment computer requests account name and password, user provides
                                                         the requested information, and payment computer verifies the
                                                         information).

                                                         In an alternative embodiment steps 132-138 are omitted.

                                                         After verification of account information is complete, the payment
                                                         computer retrieves the requested settlement data from the settlement
                                                         database, creates a smart statement document for the buyer, and sends the
                                                         smart statement document to the buyer computer (step 142). An example
                                                         of a smart statement document is shown in FIG. 11. Each
                                                         purchase transaction record in the smart statement document includes the
                                                         data of the transaction, the name of the merchant, an identification of the
                                                         product, and the payment amount for the product. The smart statement
                                                         document also includes a transaction detail URL for each purchase
                                                         transaction (these URLs, or hypertext links, are discussed below and are
                                                         not shown in FIG. 11). The smart statement document also identifies
                                                         previous statements that the user may wish to have displayed. The buyer
                                                         computer displays the retrieved document (step
                                                         144), and the user may request transaction details for a particular
                                                         transaction listed on the smart statement (step 146). If so, the buyer


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                                                          computer sends a transaction detail URL (or "payment detail URL') to
                                                          the payment computer (step 148). The transaction detail URL includes a
                                                          transaction identifier, a buyer network address, and a transaction detail
                                                          URL authenticator. When the payment computer receives the transaction
                                                          detail URL, it performs (step 150) a set of steps analogous to steps 132-
                                                          140 (verification of URL authenticator, buyer network address, and
                                                          account information). The payment computer then retrieves from the
                                                          settlement database data corresponding to the payment transaction
                                                          specified in the transaction detail URL, creates a
                                                          transaction detail document, and sends it to the buyer computer (step
                                                          152).’ 492 Patent at 8:32-9:19 (emphasis added).
                                                          ‘492 Patent, Fig. 4A.




Claim 1 and Its Dependent
Claims of The ‘639 Patent

1. A method of processing
service requests from a
client to a server system
through a network, said
method comprising the steps
of forwarding a service
request from the client to
the server system, wherein
communications between
the client and server system
are according to hypertext
transfer protocol; returning



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a session identifier from the
server system to the client,
the client storing the session
identifier


for use in subsequent            the stored session identifier-   IBM Dictionary of Computing, Tenth ed. (Aug. 1993).
distinct requests to the
server system; and               a session identifier that is     Webster’s Ninth New Collegiate Dictionary (1987).
appending the stored             recorded in computer storage
session identifier to each of    without other information,       “In another embodiment, a server access control may be maintained by
the subsequent distinct          excluding standard browser       programming the client browser to store an SID or a similar tag for use
requests from the client to      formats common to the Web        in each URL call to that particular server. This embodiment, however,
the server system.               on or before June 7, 1995.       requires a special browser which can handle such communications and
                                                                  was generally not suitable for early browser formats common to the
                                 the subsequent distinct          Web. However, it may now be implemented in cookie compatible
                                 requests -                       browsers.“ 4:23-29 (emphasis added.)

                                 every request for a separate     “[i]n another embodiment, a server access control may be maintained by
                                 and different service            programming the client browser to store an SID or a similar tag for use
                                                                  in each URL call to that particular server. This embodiment, however,
                                                                  requires a special browser which can handle such communications and is
                                                                  generally not suitable for the standard browser format common to the
                                                                  Web.” US 5,708,780 at 4:25-31 (emphasis added.)

                                                                  “Applicants' invention uses a "session identifier" or SID to provide a
                                                                  "session" of communications between a client system and a server
                                                                  system in a "stateless" session environment. An SID containing enough
                                                                  information to support a session is appended to the initial and subsequent
                                                                  requests. This information can include, for example, an authorization
                                                                  identifier, a user identifier, an accessible domain, a key identifier, an



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                                                         expiration time, a date, the address of the user computer, and/or an
                                                         unforgeable digital signature "such as a cryptographic hash of all of the
                                                         other items in the SID encrypted with a secret key." Specification as
                                                         filed, page 6, lines 16-21. The present invention is particularly suited to
                                                         restricting access to server sites on the World Wide Web.


                                                         A user's user name and password is verified once, at the beginning of a
                                                         session, and a SID is created upon verification.

                                                                        * * *

                                                         Upon receiving the SID from the server system, the client browser stores
                                                         the SID. The client browser then appends the stored SID to each
                                                         subsequent request to that server system. Because just the SID (and not
                                                         the entire request) is stored, and because the SID is appended to
                                                         subsequent requests to the particular server, use of the SID is not limited
                                                         merely to a particular request but rather can extend to all subsequent
                                                         requests to the server system, thus providing the sense of a session
                                                         between the client and the server system.

                                                           * * *

                                                         The special URL [of Freeman-Benson] does not provide the sense of a
                                                         session. For example, the special URL can be shared by others, or
                                                         stored in a hotlist for later use, providing access to a particular
                                                         document until the password is changed, at which time the special URL
                                                         is no longer valid. Freeman-Benson, para. 12, page 3. Furthermore, the
                                                         special URL will again be valid if the password is changed back.
                                                         Freeman-Benson, footnote 1, page 5.




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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         By storing the special URL, for example, in a hotlist, Freeman-Benson
                                                         stores a particular request, complete with URL, user name and password.
                                                         Such a mechanism can provide automatic validation for the particular
                                                         request, but cannot easily be extended to other requests to the same
                                                         server using different URLs. Should the user make a different
                                                         request to the same server, the user must again be prompted for user
                                                         name and password. In other words, Freeman-Benson does not teach
                                                         a client that stores some entity, e.g., a SID or other tag, that is
                                                         appended to subsequent distinct requests to a particular server.

                                                           * * *
                                                         Initially, the client [in Johnson] sends a "request for service" which
                                                         includes authorization information. The server builds a credentials record
                                                         in response to the request, and returns to the client a credentials identifier
                                                         associated with the newly created credentials record. When the client
                                                         presents the credentials identifier in subsequent requests, the server uses
                                                         the credentials identifier to retrieve the credentials record, and from the
                                                         credentials record validates the request. Access rights are stored on the
                                                         server itself, in the credentials record, and are not included in the
                                                         credentials identifier. See, for example, Johnson, column 5, lines 50-65.

                                                           * * *
                                                         For example, Freeman-Benson teaches a "specialized URL" containing
                                                         an access key which is simply an encrypted login name and password.
                                                         Furthermore, Freeman-Benson teaches storing the specialized URL, that
                                                         is, the request (the normal URL) along with the access key. Thus, later
                                                         use of this stored specialized URL will result in a repetition of the
                                                         original request, without requiring further authorization. Freeman-
                                                         Benson does not append the specialized URL to subsequent requests -
                                                         doing so would result in a meaningless request: one URL appended by
                                                         another URL.


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                                                         Applicants' invention, on the other hand, stores the SID and appends the
                                                         stored SID to each URL or request to the particular server that provided
                                                         the SID, thus defining a session. That is, subsequent requests to the
                                                         server from the browser do not require the user to enter additional
                                                         verification information, even for different requests, because the SID
                                                         which accompanies each request provides validation.

                                                         In addition, Freeman-Benson, at the time of its publication, worked with
                                                         "all existing WWW browsers." Freeman-Benson, paragraph 26, page 5,
                                                         original emphasis. Such browsers as existed at that time would not
                                                         support Applicants' claimed invention, which, as of the priority date,
                                                         required a modified browser. See Specification as filed, page 8, lines 15-
                                                         19. Of course, "modern" browsers which support cookies are such
                                                         "modified" browsers.” Amendments and Remarks with Request for
                                                         Continued Examination – December 28, 2001 (emphasis added.)

                                                         “With this response Applicants supplement their evidence of reduction to
                                                         practice prior to the effective date of the Kahan reference. The present
                                                         application is a continuation of U.S. Patent application, serial
                                                         number 08/474,096 which subsequently issued as U.S. patent number
                                                         5,708,780 (the '780 patent). The entire teaching of the parent
                                                         specification was incorporated by reference into the continuation
                                                         application. The specification of the '780 patent includes computer code
                                                         embodying the invention.

                                                           * * *
                                                         Later, on the page that spans columns 53-54 the
                                                         TICKET_INTERTLOCALSID function performs the step of
                                                         appending the stored session identifier to each subsequent distinct
                                                         request from the client to the server.” Response To Office Action,


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                                                         August 31, 2004 (emphasis added.)

                                                         “Schedule 1 describes ‘the client storing the session identifier for use in
                                                         subsequent distinct requests to the server system,’ such as on page 5 of
                                                         Schedule 1 (emphasis added):




                                                         This passage from Schedule I describes the server providing to the client
                                                         transaction state information (i.e. "stuff_for_convenience_of_server").
                                                         The client receives this information from the server (i.e., "Server to
                                                         Client") and stores it so that when the client needs to provide a
                                                         response to the server (i.e., "Client back to Server"), the client can


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                                                         locate the "stuff_for_convenience_of server" and provide this
                                                         transaction state information back to the server along wit the
                                                         response. As mentioned in this passage, the advantage of this
                                                         approach is that the server is not required to use a database to store
                                                         the state of the transaction.

                                                         Schedule I describes "appending the stored session identifier to each of
                                                         the subsequent distinct requests from the client to the server system,"
                                                         such as on page 5 of Schedule 1 (emphasis added):




                                                         This passage from Schedule I describes that for a response from a "Client



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                                                              back to Server", the client provides the "encoded-string" to the server.
                                                              The "encoded string" contains not only the username and the response,
                                                              but coupled thereto is the "stuff_for_convenience_of_server" which
                                                              contains the state information. If any subsequent response does not
                                                              contain such information, then the subsequent transaction request
                                                              would fail since the request would not contain the proper authorization
                                                              information. Accordingly as shown by the above, Schedule 1 shows
                                                              conception of claim 3 before the effective date and thus the Kahan
                                                              reference should be removed as a reference.” Declaration of Prior
                                                              Invention at 5-7, October 19, 2006 (emphasis added.)

10. A method as claimed in    initial service request -       Webster’s Ninth New Collegiate Dictionary (1987).
claim 1 wherein the server
system assigns the session    the first request for service   “The present invention relates to methods of processing service requests
identifier to an initial                                      from a client to a server through a network. In particular the present
service request to the                                        invention is applicable to processing client requests in an HTTP
server system.                                                (Hypertext Transfer Protocol) environment, such as the World-Wide
                                                              Web (Web). One aspect of the invention involves forwarding a
                                                              service request from the client to the server and appending a session
                                                              identification (SID) to the request and to subsequent service requests
                                                              from the client to the server within a session of requests. In a
                                                              preferred embodiment, the present method involves returning the SID
                                                              from the server to the client upon an initial service request made by
                                                              the client. A valid SID may include an authorization identifier to allow a
                                                              user to access controlled files. In a preferred embodiment, a client
                                                              request is made with a Uniform Resource Locator (URL) from a Web
                                                              browser. Where a client request is directed to a controlled file without an
                                                              SID, the Internet server subjects the client to an authorization routine
                                                              prior to issuing the SID, the SID being protected from forgery. A content
                                                              server initiates the authorization routine by redirecting the client's
                                                              request to an authentication server which may be at a different host.


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                                                         Upon receiving a redirected request, the authentication server returns a
                                                         response to interrogate the client and then issues an SID to a qualified
                                                         client. For a new client, the authentication server may open a new
                                                         account and issue an SID thereafter. A valid SID typically comprises a
                                                         user identifier, an accessible domain, a key identifier, an expiration time
                                                         such as date, the IP address of the user computer, and an unforgeable
                                                         digital signature such as a cryptographic hash of all of the other items in
                                                         the SID encrypted with a secret key. The authentication server then
                                                         forwards a new request consisting of the original URL appended by the
                                                         SID to the client in a REDIRECT. The modified request formed by a
                                                         new URL is automatically forwarded by the client browser to the content
                                                         server.” 3: 6-41 (emphasis added)

                                                         “If the request is directed to a controlled page, the content server
                                                         determines whether the URL contains an SID 102. For example, a URL
                                                         may be directed to a controlled page name "report", such as
                                                         "http://content.com/report", that requires an SID. If no SID is present, as
                                                         in this example, the content server sends a "REDIRECT" response 122 to
                                                         the browser 100 to redirect the user's initial request to an
                                                         authentication server 200 to obtain a valid SID. The details of the
                                                         authentication process are described in FIG. 2B and will be
                                                         discussed later, but the result of the process is an SID provided from
                                                         the authentication server to the client. In the above example, a
                                                         modified URL appended with an SID may be:
                                                         "http://content.com/[SID]/report". The preferred SID is a sixteen
                                                         character ASCII string that encodes 96 bits of SID data, 6 bits per
                                                         character. It contains a 32-bit digital signature, a 16-bit expiration date
                                                         with a granularity of one hour, a 2-bit key identifier used for key
                                                         management, an 8-bit domain comprising a set of information files to
                                                         which the current SID authorizes access, and a 22-bit user identifier. The
                                                         remaining bits are reserved for expansion. The digital signature is a


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                                                             cryptographic hash of the remaining items in the SID and the authorized
                                                             IP address which are encrypted with a secret key which is shared by the
                                                             authentication and content servers. If the initial GET URL contains a
                                                             SID, the content server determines whether the request is directed to a
                                                             page within the current domain 106. If the request having a SID is
                                                             directed to a controlled page of a different domain, the SID is no longer
                                                             valid and, again, the user is redirected to the authentication server 122. If
                                                             the request is for a controlled page within the current domain, the content
                                                             server proceeds to log the request URL, tagged with SID, and the user IP
                                                             address in the transaction log 108. The content server then validates the
                                                             SID 110.” 5: 42-6:8 (emphasis added.)

                                                             ‘639 Patent, FIGS 2A-3.

47. The method of claim 1,    validating, at the server      “…Such validation may include, for example, the following checks: (1)
wherein the session           system, the appended           the SID's digital signature is compared against the digital signature
identifier is designated by   session identifier -           computed from the remaining items in the SID and the user IP address
the server system, furthers                                  using the secret key shared by the authentication and content servers; (2)
comprising the steps of:      checking that the session      the domain field of the SID is checked to verify that it is within the
validating, at the server     identifier is valid without    domain authorized; and (3) the EXP field of the SID is checked to verify
system, the appended          resort to information stored   that it is later than the current time. Specification as filed, page 12, lines
session identifier; and       elsewhere, such as in the      5-13.
                              server system
                                                             In one embodiment, for example, "a valid SID allows the client to access
                                                             all controlled files within a protection domain without requiring further
                                                             authorization." Specification as filed, page 7, lines 1-3. That is,
                                                             information regarding access rights is fully contained within the SID, and
                                                             need not be reentered by a user attempting to access any file within a
                                                             domain for which the user's authorization has already been verified.




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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                                 * * *

                                                         Johnson does not teach or suggest a session identifier but rather teaches a
                                                         credentials identifier. A credentials identifier is a "small value" used to
                                                         access a "credentials structure" which is maintained on the server. See
                                                         Johnson, column 5, lines 54-65. Each time a request is made, the server
                                                         reconstructs "an image of the user." Johnson, column 5, lines 40-42.
                                                         Johnson uses the credentials identifier to locate the credentials structure
                                                         from which the image of the user is reconstructed.

                                                         Applicants' invention, on the other hand, does not need to perform
                                                         this reconstruction, because the session identifier itself contains
                                                         sufficient information to validate that the request is authorized.

                                                         *****

                                                         For example, Freeman-Benson teaches a "specialized URL" containing
                                                         an access key which is simply an encrypted login name and password.
                                                         Furthermore, Freeman-Benson teaches storing the specialized URL, that
                                                         is, the request (the normal URL) along with the access key. Thus, later
                                                         use of this stored specialized URL will result in a repetition of the
                                                         original request, without requiring further authorization. Freeman-
                                                         Benson does not append the specialized URL to subsequent requests -
                                                         doing so would result in a meaningless request: one URL appended by
                                                         another URL.

                                                         Applicants' invention, on the other hand, stores the SID and appends the
                                                         stored SID to each URL or request to the particular server that provided
                                                         the SID, thus defining a session. That is, subsequent requests to the
                                                         server from the browser do not require the user to enter additional
                                                         verification information, even for different requests, because the SID


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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         which accompanies each request provides validation.” Amendments
                                                         and Remarks with Request for Continued Examination, December 28,
                                                         2001 (emphasis added)

                                                         “Schedule 1 describes "validating the session identifier appended to the
                                                         service request," such as on page 2 of Schedule 1:

                                                         The Access URL is presented by the client to the server which
                                                         contains
                                                         the document purchased. This "content server" validates the access
                                                         URL,
                                                         and if it is valid, returns the document to the client.

                                                         As shown by this passage from Schedule 1, the access information is
                                                         validated by the content server.

                                                         Schedule 1 describes "servicing the service request if the appended
                                                         session identifer is valid," such as on page 5 of Schedule 1:




                                                         This passage from Schedule I describes the client providing a response



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                                                            (i.e., "Client back to Server") to the server that includes the
                                                            "stuff_for_convenience_of server" (i.e., the "state" of the
                                                            transaction). As indicated in this passage, the server checks to see if'
                                                            the session identifier has been forged or tampered with by using
                                                            "this for a digital signature of the expected response." If the digital
                                                            signature is validated, then the service request (e.g., a document) is
                                                            serviced, such as
                                                            shown on page 2 of Schedule 1:

                                                            The Access URL is presented by the client to the server which contains
                                                            the document purchased. This "content server" validates the access URL,
                                                            and if it is valid, returns the document to the client.” Declaration of Prior
                                                            Invention at 5-7, October 19, 2006 (emphasis added.)

                                                            “User Identification and Validation : … (2) a system action that
                                                            identifies and verifies a user at logon or when a batch job is received
                                                            for processing.

                                                            Validation: the checking of data for correctness or for compliance
                                                            with applicable standards, rules, and conventions.” IBM Dictionary
                                                            of Computing, Tenth ed. (Aug. 1993) (emphasis added.)

                                                            “Validation : b: to confirm the validity of.” Merriam-Webster Dictionary

returning a controlled         controlled document -        “Internet server access control and monitoring systems
document if the appended                                                                     Abstract
session identifier is valid.   a document for which
                               authentication is required   This invention relates to methods for controlling and monitoring access
                                                            to network servers. In particular, the process described in the invention
                                                            includes client-server sessions over the Internet. In this environment,
                                                            when the user attempts to access an access-controlled file, the server



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                                                         subjects the request to a secondary server which determines whether the
                                                         client has an authorization or valid account. Upon such verification,
                                                         the user is provided with a session identification which allows the user to
                                                         access to the requested file as well as any other files within the present
                                                         protection domain.” Abstract of ‘639 Patent (emphasis added.)

                                                         “FIG. 2A is a flowchart detailing the preferred process of the present
                                                         invention and FIG. 4 illustrates a sample Web page displayed at a client
                                                         by a browser. The page includes text 404 which includes underlined link
                                                         text 412. The title bar 408 and URL bar 402 display the title and URL of
                                                         the current web page, respectively. As shown in FIG. 4, the title of the
                                                         page is "Content Home Page" and the corresponding URL is
                                                         "http://content.com/homepage". When a cursor 414 is positioned over
                                                         link text 412b, the page which would be retrieved by clicking a mouse is
                                                         typically identified in a status bar 406 which shows the URL for that
                                                         link. In this example the status bar 406 shows that the URL for the
                                                         pointed link 412b is directed to a page called "advertisement" in a
                                                         commercial content server called "content". By clicking on the link text,
                                                         the user causes the browser to generate a URL GET request at 100 in
                                                         FIG. 2A. The browser forwards the request to a content server 120,
                                                         which processes the request by first determining whether the requested
                                                         page is a controlled document 102. If the request is directed to an
                                                         uncontrolled page, as in "advertisement" page in this example, the
                                                         content server records the URL and the IP address, to the extent it is
                                                         available, in the transaction log 114. The content server then sends the
                                                         requested page to the browser 116 for display on the user computer 117.
                                                         If the request is directed to a controlled page, the content server
                                                         determines whether the URL contains an SID 102. For example, a
                                                         URL may be directed to a controlled page name "report", such as
                                                         "http://content.com/report", that requires an SID. If no SID is
                                                         present, as in this example, the content server sends a "REDIRECT"


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                                                         response 122 to the browser 100 to redirect the user's initial request to an
                                                         authentication server 200 to obtain a valid SID. The details of the
                                                         authentication process are described in FIG. 2B and will be
                                                         discussed later, but the result of the process is an SID provided from
                                                         the authentication server to the client. In the above example, a
                                                         modified URL appended with an SID may be:
                                                         "http://content.com/[SID]/report". The preferred SID is a sixteen
                                                         character ASCII string that encodes 96 bits of SID data, 6 bits per
                                                         character. It contains a 32-bit digital signature, a 16-bit expiration date
                                                         with a granularity of one hour, a 2-bit key identifier used for key
                                                         management, an 8-bit domain comprising a set of information files to
                                                         which the current SID authorizes access, and a 22-bit user identifier. The
                                                         remaining bits are reserved for expansion. The digital signature is a
                                                         cryptographic hash of the remaining items in the SID and the authorized
                                                         IP address which are encrypted with a secret key which is shared by the
                                                         authentication and content servers.” 5:18-65 (emphasis added.)

                                                         “FIG. 3, illustrates a typical client-server exchange involving the access
                                                         control and monitoring method of the present invention. In Step 1, the
                                                         client 50 running a browser transmits a GET request through a network
                                                         for an uncontrolled page (UCP). For example, the user may request an
                                                         advertisement page by transmitting a URL
                                                         "http://content.com/advertisement", where "content.com" is the server
                                                         name and "advertisement" is the uncontrolled page name. In Step 2, the
                                                         content server 52 processes the GET request and transmits the requested
                                                         page, "advertisement". The content server also logs the GET request in
                                                         the transaction database 56 by recording the URL, the client IP address,
                                                         and the current time. In Step 3, the user on the client machine may
                                                         elect to traverse a link in the advertisement page directed to a
                                                         controlled page (CP). For example, the advertisement page may
                                                         contain a link to a controlled page called "report". Selecting this link


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                                                         causes the client browser 50 to forward a GET request through a
                                                         URL which is associated with the report file
                                                         "http://content.com/report". The content server 52 determines that
                                                         the request is to a controlled page and that the URL does not contain
                                                         an SID. In Step 4, the content server transmits a REDIRECT response to
                                                         the client, and, in Step 5, the browser automatically sends the
                                                         REDIRECT URL to the authentication server 54. The REDIRECT URL
                                                         sent to the authentication server may contain the following string:
                                                         "http://auth.com/authenticate?domain=[domain]&URL=http://content.co
                                                         m/repor- t" The authentication server processes the REDIRECT and
                                                         determines whether user credentials (CRED) are needed for
                                                         authorization. In Step 6, the authentication server transmits a
                                                         "CHALLENGE" response to the client. As previously described,
                                                         typical credentials consist of user name and password. An
                                                         authorization header based on the credential information is then
                                                         forwarded by the client browser to the authentication server. For
                                                         example, a GET URL having such an authorization header is:
                                                         "http://autho.com/authenticate?domain=[domain]&URL=http://content.c
                                                         om/rep- ort and the authorization header may be: "AUTHORIZE:
                                                         [authorization]". The authentication server processes the GET request
                                                         by checking the Account Database 58. If a valid account exists for
                                                         the user, an SID is issued which authorizes access to the controlled
                                                         page "report" and all the other pages within the domain.” 7:22-67
                                                         (emphasis added.)
                                                         “As previously described, the preferred SID comprises a compact ASCII
                                                         string that encodes a user identifier, the current domain, a key identifier,
                                                         an expiration time, the client IP address, and an unforgeable digital
                                                         signature. In Step 8, the authentication server redirects the client to the
                                                         tagged URL, "http://content.com/[SID]/report", to the client. In Step 9,
                                                         the tagged URL is automatically forwarded by the browser as a GET
                                                         request to the content server. The content server logs the GET request in


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                                                               the Transaction database 56 by recording the tagged URL, the client IP
                                                               address, and the current time. In Step 10, the content server, upon
                                                               validating the SID, transmits the requested controlled page "report"
                                                               for display on the client browser.” 8:1-23 (emphasis added.)

                                                               “The Target URL contained in Message 3 can be an ordinary URL to an
                                                               uncontrolled page, or it can be a URL that describes a controlled page. If
                                                               the Target URL describes a controlled page then authentication is
                                                               performed as previously described. The Target URL can also describe
                                                               a URL that includes an SID that provides a preauthorized means of
                                                               accessing a controlled page.” 9: 52-58 (emphasis added.)

                                                               “In another aspect of the invention, the user may gain access to domain
                                                               of servers containing journals or publications through a subscription. In
                                                               such a situation, the user may purchase the subscription in advance to
                                                               gain access to on-line documents through the Internet. The user gains
                                                               access to a subscribed document over the Internet through the
                                                               authorization procedure as described above where an authorization
                                                               indicator is preferably embedded in a session identifier. In another
                                                               embodiment, rather than relying on a prepaid subscription, a user may be
                                                               charged and billed each time he or she accesses a particular document
                                                               through the Internet. In that case, authorization may not be required so
                                                               long as the user is fully identified in order to be charged for the service.
                                                               The user identification is most appropriately embedded in the session
                                                               identifier described above.” ‘639 Patent at 8:59 -9:6 (emphasis added.)

                                                               FIGS 2A-3 of the ‘639 Patent.

60. The method of claim 1,     a purchase request -            “The above-mentioned patent application also describes an alternative
wherein at least one service                                   implementation of the network sales system in which, when the user
request comprises a            a service request including a   requests purchase of an advertised product, the buyer computer sends a



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purchase request, the            user identifier by which a       payment order directly to the payment computer, which sends an
purchase request including       buyer initiates a payment        authorization message back to the buyer computer that includes an
an associated user identifier,   transaction for product(s) the   unforgeable certificate that the payment order is valid. The buyer
the method further               buyer wishes to purchase.        computer then constructs a purchase message that includes the
comprising: accessing, upon                                       unforgeable certificate and sends it to the merchant computer. When the
receipt of the purchase                                           merchant computer receives the purchase request it sends the
request at the server system,                                     product to the buyer computer, based upon the pre-authorized
user information associated                                       payment order.” ‘314 Patent at 1:36-47 (emphasis added.)
with the user identifier
sufficient to charge to an                                        “Additionally, the server may, at any given time, track access history
account associated with the                                       within a client-server session. Such a history profile informs the service
user, the purchase price of                                       provider about link traversal frequencies and link paths followed by
the product identified by the                                     users. This profile is produced by filtering transaction logs from one or
purchase request; charging                                        more servers to select only transactions involving a particular user ID
the user for the product                                          (UID). Two subsequent entries, A and B, corresponding to requests from
identified by the purchase                                        a given user in these logs represent a link traversal from document A to
request according to the user                                     document B made by the user in question. This information may be used
information; and                                                  to identify the most popular links to a specific page and to suggest where
fulfilling the purchase                                           to insert new links to provide more direct access. In another
request based on the user                                         embodiment, the access history is evaluated to determine traversed
information.                                                      links leading to a purchase of a product made within commercial
                                                                  pages. This information may be used, for example, to charge for
                                                                  advertising based on the number of link traversals from an advertising
                                                                  page to a product page or based on the count of purchases resulting from
                                                                  a path including the advertisement. In this embodiment, the server can
                                                                  gauge the effectiveness of advertising by measuring the number of sales
                                                                  that resulted from a particular page, link, or path of links. The system can
                                                                  be configured to charge the merchant for an advertising page based on
                                                                  the number of sales that resulted from that page.” ‘639 Patent at 8:27-50
                                                                  (emphasis added.)



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                                                                “In another aspect of the invention, the user may gain access to domain
                                                                of servers containing journals or publications through a subscription. In
                                                                such a situation, the user may purchase the subscription in advance
                                                                to gain access to on-line documents through the Internet. The user
                                                                gains access to a subscribed document over the Internet through the
                                                                authorization procedure as described above where an authorization
                                                                indicator is preferably embedded in a session identifier. In another
                                                                embodiment, rather than relying on a prepaid subscription, a user may be
                                                                charged and billed each time he or she accesses a particular document
                                                                through the Internet. In that case, authorization may not be required so
                                                                long as the user is fully identified in order to be charged for the service.
                                                                The user identification is most appropriately embedded in the session
                                                                identifier described above.” ‘639 Patent at 8:59 -9:6 (emphasis added.)

62. The method of claim 1,      hyperlink -                     “The hypertext conventions and related functions of the
further comprising: under                                       world wide web are described in the appendices of U.S.
control of a client system,     a navigational element          patent application Ser. No. 08/328,133, filed on Oct. 24,
displaying information          pointing, for example, to       1994, by Payne et al. which is incorporated herein by
identifying a product; and in   another document, or form, or   reference.” ‘639 patent at 2:9-14 (emphasis added.)
response to a user selection    resource
of a hyperlink associated                                       “ The term ‘URL’ as used the present application is an example of a
with a product desired to be                                    ‘link,’ which is a pointer to another document or form (including
purchased,                                                      multimedia documents, hypertext documents including other links,
                                                                or audio/video documents)” ‘314 Patent at 9:59-63 (emphasis added.)

                                                                “Each Web page may contain pictures and sounds in addition to text.
                                                                Hidden behind certain text, pictures or sounds are connections, known as
                                                                ‘hypertext links’ (‘links’), to other pages within the same server or even
                                                                on other computers within the Internet. For example, links may
                                                                be visually displayed as words or phrases that may be underlined or
                                                                displayed in a second color. Each link is directed to a web page by using



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                                                         a special name called a URL (Uniform Resource Locator). URLs enable
                                                         a Web browser to go directly to any file held on any Web server. A user
                                                         may also specify a known URL by writing it directly into the command
                                                         line on a Web page to jump to another Web page.” ‘639 Patent at 2:15-
                                                         26 (emphasis added.)

                                                          “What Is Hypertext?
                                                              Hypertext offers a way of moving from one document to
                                                         another through word links. Each marked word in a document
                                                         has a link to another document or resource. This allows you to
                                                         follow various paths within the system based on the contents of each
                                                         document in a nonlinear fashion, according to subject. For example,
                                                         when a word or concept is introduced in one document, you can
                                                         move to another document that may simply be a definition or
                                                         explanation of the term, or even a long document about that subject.
                                                         The reader can open the second document, read it, and then return to
                                                         the original, or move on to other documents based on the marked
                                                         words in each new document. Hypermedia works much like hypertext,
                                                         but allows words in a document to be linked to nontext files of
                                                         images, sounds, QuickTime movies, and so on.” The Internet Business
                                                         Book - produced at CNZ0012914. See, e.g., CNZ 13130.

                                                         “The operation of the Web relies on hypertext as its means of interacting
                                                         with users. Hypertext is basically the same as regular text - it can be
                                                         stored, read, searched, or edited - with an important exception: hypertext
                                                         contains connections within the text to other documents.

                                                         For instance, suppose you were able to somehow select (with a mouse or
                                                         with your finger) the word "hypertext" in the sentence before this one. In
                                                         a hypertext system, you would then have one or more documents
                                                         related to hypertext appear before you - a history of hypertext, for


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                                                         example, or the Webster's definition of hypertext. These new texts
                                                         would themselves have links and connections to other documents -
                                                         continually selecting text would take you on a free- associative tour
                                                         of information. In this way, hypertext links, called hyperlinks, can
                                                         create a complex virtual web of connections.

                                                         Hypermedia is hypertext with a difference - hypermedia documents
                                                         contain links not only to other pieces of text, but also to other forms of
                                                         media - sounds, images, and movies. Images themselves can be selected
                                                         to link to sounds or documents. Here are some simple examples of
                                                         hypermedia:

                                                         You are reading a text on the Hawaiian language. You select a Hawaiian
                                                         phrase, then hear the phrase as spoken in the native tongue.

                                                         You are a law student studying the Hawaii Revised Statutes. By selecting
                                                         a passage, you find precedents from a 1920 Supreme Court ruling stored
                                                         at Cornell. Cross-referenced hyperlinks allow you to view any one of 520
                                                         related cases with audio annotations.

                                                         Looking at a company's floorplan, you are able to select an office by
                                                         touching a room. The employee's name and picture appears with a list of
                                                         their current projects.

                                                         You are a scientist doing work on the cooling of steel springs. By
                                                         selecting text in a research paper, you are able to view a computer-
                                                         generated movie of a cooling spring. By selecting a button you are able
                                                         to receive a program which will perform thermodynamic calculations.

                                                         A student reading a digital version of an art magazine can select a work
                                                         to print or display in full. If the piece is a sculpture, she can request to


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                                                         see a movie of the sculpture rotating. By interactively controlling the
                                                         movie, she can zoom in to see more detail.

                                                         The Web, although still in its early years, allows many of these examples
                                                         to work in real life. It facilitates the easy exchange of hypermedia
                                                         through networked environments from anything as small as two
                                                         Macintoshes connected together to something as large as the global
                                                         Internet.” Entering the World-Wide Web: A Guide to Cyberspace ,
                                                         produced at CNZ0013886. See, e.g., CNZ 13887.

                                                         “What are hypertext and hypermedia? …

                                                            The documents that the browsers display are hypertext documents.
                                                            Hypertext is text with pointers to other text. The browsers let you
                                                            deal with the pointers in a transparent way - you clicking on a
                                                            part of the text, and you are presented with the text that is pointed
                                                            to.

                                                           Hypermedia is a superset of hypertext -- it is any medium with
                                                           pointers to other media. This means that browsers might not display
                                                           a text file, but might display images or sound or animations.” WWW
                                                         FAQ v. 0.1, see CNZ0014216.

                                                         “Hyper-:
                                                               This prefix has a dictionary meaning of above, excessive or
                                                         beyond. Its use in computing, as exemplified below, is perhaps related to
                                                         analogous jargon or buzzwords coined by the science fiction
                                                         community, e.g. hyperspace, a speculative extra physical dimension.
                                                         The hyper prefix now has a strong historical momentum, and seems
                                                         likely to endure. However, with hindsight other prefixes such as
                                                         meta-(among, about or between), or inter- might have been more


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                                                         accurate descriptors of the structural emphasis of hypermedia; the
                                                         'hyper-level' is strictly at a meta-level to the semantic or content level. (It
                                                         may be interesting to note that in the meantime, metatext has become a
                                                         favourite term of the Structuralist schools of literary criticism, and
                                                         Intermedia is the proprietary name of an advanced hypermedia system.)

                                                               Hypermedia :

                                                              Taken to be a generic approach to constructing non-linear,
                                                         computer-supported materials, as embodied by a number of
                                                         commercial and academic program shells; the term is also used to
                                                         describe the materials themselves. Hypermedia itself is a subset of the
                                                         more general class of interactive multimedia -- not all implementations
                                                         of which support 'hyper' functionality. The term hypermedia will be
                                                         used throughout this book unless the context is uniquely text-based, in
                                                         which case hypertext will be preferred.

                                                              Hypermedia is used here as a singular noun, as per the accepted
                                                         contemporary use of the strictly plural noun data.

                                                               Hypertext:

                                                              Hypertext, and hypertext programs are a subset of hypermedia and
                                                         hypermedia programs (albeit the largest, most central, and probably the
                                                         most commercially significant, see Figure 1.1). Ted Nelson claims
                                                         to have originally coined the term hypertext (meaning writing with
                                                         and for the computer) in the early 1960s.” Hypertext and
                                                         Hypermedia, see e.g., CNZ 15885-15887.

                                                         “Hot spots
                                                         Meanwhile, several programs have been made exploring these ideas,


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                                                         both commercially and academically. Most of them use "hot spots" in
                                                         documents, like icons, or highlighted phrases, as sensitive areas,
                                                         touching a hot spot with a mouse brings up the relevant information, or
                                                         expands the text on the screen to include it. Imagine, then, the references
                                                         in this document, all being associated with the network address of the
                                                         thing to which they referred, so that while reading this document you
                                                         could skip to them with a click of the mouse.

                                                         "Hypertext" is a term coined in the 1950s by Ted Nelson [...], which has
                                                         become popular for these systems, although it is used to embrace two
                                                         different ideas. One idea (which is relevant to this problem) is the
                                                         concept: "Hypertext": Human- readable information linked together
                                                         in an unconstrained way.

                                                         The other idea, which is independent and largely a question of
                                                         technology and time, is of multimedia documents which include
                                                         graphics, speech and video. I will not discuss this latter aspect further
                                                         here, although I will use the word "Hypermedia" to indicate that one is
                                                         not bound to text.” Information Management: A Proposal, see
                                                         CNZ0021631.

                                                         “2 / Concepts of Hypertext and Hypermedia

                                                                         Hypertext and Hypermedia-
                                                                          Definition and History

                                                                What does this rainy-night tale have to do with hypertext and
                                                         hypermedia? Everything. The essential distinction of both hypertext
                                                         and hypermedia is the automation of the linking process that Nancy
                                                         and I went through, first to find General Buford and then to investigate
                                                         the other points that interested us.


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                                                                       Hyper-definitions

                                                                           Hypertext is the use of a computer to automate the links and
                                                                   follow their paths through chunks of text information until the user
                                                                   is satisfied (figures 1.1 and 1.2). The essence of hypermedia is the
                                                                   analogous computerized linkage of and navigation through chunks of
                                                                   information in several different media (known as multimedia
                                                                   information). Non-text information might be two- or three-dimensional
                                                                   graphic images, animation, film, video tape, or monaural or stereo sound
                                                                   recordings (figure 1.3).” Hypercard, Hypertext & Hypermedia for
                                                                   Libraries and Media Centers, see CNZ0022045-22062.

                                                                   “Hypermedia - A combination of hypertext (q.v.) and multimedia (q.v.).
                                                                   hypertext - Documents that contain links to other documents; selecting
                                                                   a link automatically displays the second document.” The Whole
                                                                   Internet, see CNZ0024174.

sending a request to              a request to purchase -          “The above-mentioned patent application also describes an alternative
purchase the item along                                            implementation of the network sales system in which, when the user
with an identifier of a           a service request including a    requests purchase of an advertised product, the buyer computer sends a
purchaser of the item to a        user identifier in which a       payment order directly to the payment computer, which sends an
server system; and under          buyer initiates a payment        authorization message back to the buyer computer that includes an
control of the server system,     transaction for product(s) the   unforgeable certificate that the payment order is valid. The buyer
upon receiving the request,       buyer wishes to purchase.        computer then constructs a purchase message that includes the
retrieving additional                                              unforgeable certificate and sends it to the merchant computer. When the
information previously                                             merchant computer receives the purchase request it sends the
stored for the purchaser                                           product to the buyer computer, based upon the pre-authorized
identified by the identifier in                                    payment order.” ‘314 Patent at 1:36-47 (emphasis added.)
the received request;
charging the user the                                              “Additionally, the server may, at any given time, track access history



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purchase price of the                                    within a client-server session. Such a history profile informs the service
product; and fulfilling the                              provider about link traversal frequencies and link paths followed by
request for the product.                                 users. This profile is produced by filtering transaction logs from one or
                                                         more servers to select only transactions involving a particular user ID
                                                         (UID). Two subsequent entries, A and B, corresponding to requests from
                                                         a given user in these logs represent a link traversal from document A to
                                                         document B made by the user in question. This information may be used
                                                         to identify the most popular links to a specific page and to suggest where
                                                         to insert new links to provide more direct access. In another
                                                         embodiment, the access history is evaluated to determine traversed
                                                         links leading to a purchase of a product made within commercial
                                                         pages. This information may be used, for example, to charge for
                                                         advertising based on the number of link traversals from an advertising
                                                         page to a product page or based on the count of purchases resulting from
                                                         a path including the advertisement. In this embodiment, the server can
                                                         gauge the effectiveness of advertising by measuring the number of sales
                                                         that resulted from a particular page, link, or path of links. The system can
                                                         be configured to charge the merchant for an advertising page based on
                                                         the number of sales that resulted from that page.” ‘639 Patent at 8:27-50
                                                         (emphasis added.)

                                                         “In another aspect of the invention, the user may gain access to domain
                                                         of servers containing journals or publications through a subscription. In
                                                         such a situation, the user may purchase the subscription in advance
                                                         to gain access to on-line documents through the Internet. The user
                                                         gains access to a subscribed document over the Internet through the
                                                         authorization procedure as described above where an authorization
                                                         indicator is preferably embedded in a session identifier. In another
                                                         embodiment, rather than relying on a prepaid subscription, a user may be
                                                         charged and billed each time he or she accesses a particular document
                                                         through the Internet. In that case, authorization may not be required so


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                                                               long as the user is fully identified in order to be charged for the service.
                                                               The user identification is most appropriately embedded in the session
                                                               identifier described above.” ‘639 Patent at 8:59 -9:6 (emphasis added.)

65. The method of claim 1,    a request to purchase -          “The above-mentioned patent application also describes an alternative
wherein a service request                                      implementation of the network sales system in which, when the user
comprises a request to        a service request including a    requests purchase of an advertised product, the buyer computer sends a
purchase a product.           user identifier in which a       payment order directly to the payment computer, which sends an
                              buyer initiates a payment        authorization message back to the buyer computer that includes an
                              transaction for product(s) the   unforgeable certificate that the payment order is valid. The buyer
                              buyer wishes to purchase.        computer then constructs a purchase message that includes the
                                                               unforgeable certificate and sends it to the merchant computer. When the
                                                               merchant computer receives the purchase request it sends the
                                                               product to the buyer computer, based upon the pre-authorized
                                                               payment order.” ‘314 Patent at 1:36-47 (emphasis added.)

                                                               “Additionally, the server may, at any given time, track access history
                                                               within a client-server session. Such a history profile informs the service
                                                               provider about link traversal frequencies and link paths followed by
                                                               users. This profile is produced by filtering transaction logs from one or
                                                               more servers to select only transactions involving a particular user ID
                                                               (UID). Two subsequent entries, A and B, corresponding to requests from
                                                               a given user in these logs represent a link traversal from document A to
                                                               document B made by the user in question. This information may be used
                                                               to identify the most popular links to a specific page and to suggest where
                                                               to insert new links to provide more direct access. In another
                                                               embodiment, the access history is evaluated to determine traversed
                                                               links leading to a purchase of a product made within commercial
                                                               pages. This information may be used, for example, to charge for
                                                               advertising based on the number of link traversals from an advertising
                                                               page to a product page or based on the count of purchases resulting from



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Claim Element(s)                Defendants’ Construction         Support for Construction

                                                                 a path including the advertisement. In this embodiment, the server can
                                                                 gauge the effectiveness of advertising by measuring the number of sales
                                                                 that resulted from a particular page, link, or path of links. The system can
                                                                 be configured to charge the merchant for an advertising page based on
                                                                 the number of sales that resulted from that page.” ‘639 Patent at 8:27-50
                                                                 (emphasis added.)

                                                                 “In another aspect of the invention, the user may gain access to domain
                                                                 of servers containing journals or publications through a subscription. In
                                                                 such a situation, the user may purchase the subscription in advance
                                                                 to gain access to on-line documents through the Internet. The user
                                                                 gains access to a subscribed document over the Internet through the
                                                                 authorization procedure as described above where an authorization
                                                                 indicator is preferably embedded in a session identifier. In another
                                                                 embodiment, rather than relying on a prepaid subscription, a user may be
                                                                 charged and billed each time he or she accesses a particular document
                                                                 through the Internet. In that case, authorization may not be required so
                                                                 long as the user is fully identified in order to be charged for the service.
                                                                 The user identification is most appropriately embedded in the session
                                                                 identifier described above.” ‘639 Patent at 8:59 -9:6 (emphasis added.)

Claim 78 and Its Dependent
Claim of The ‘639 Patent

78. A method of processing,     a session identifier stored at   IBM Dictionary of Computing, Tenth ed. (Aug. 1993).
in a server system, service     the client -
requests from a client to the                                    Webster’s Ninth New Collegiate Dictionary (1987).
server system through a         a session identifier that is
network, said method            recorded in computer storage     “In another embodiment, a server access control may be maintained by
comprising the steps of:        without other information,       programming the client browser to store an SID or a similar tag for use
receiving, from the client, a   excluding standard browser       in each URL call to that particular server. This embodiment, however,



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service request to which       formats common to the Web    requires a special browser which can handle such communications and
has been appended by the       on or before June 7, 1995.   was generally not suitable for early browser formats common to the
client, wherein                                             Web. However, it may now be implemented in cookie compatible
communications between                                      browsers.“ 4:23-29 (emphasis added.)
the client and server system
are according to hypertext                                  “[i]n another embodiment, a server access control may be maintained by
transfer protocol;                                          programming the client browser to store an SID or a similar tag for use
                                                            in each URL call to that particular server. This embodiment, however,
                                                            requires a special browser which can handle such communications and is
                                                            generally not suitable for the standard browser format common to the
                                                            Web.” US 5,708,780 at 4:25-31 (emphasis added.)

                                                            “Applicants' invention uses a "session identifier" or SID to provide a
                                                            "session" of communications between a client system and a server
                                                            system in a "stateless" session environment. An SID containing enough
                                                            information to support a session is appended to the initial and subsequent
                                                            requests. This information can include, for example, an authorization
                                                            identifier, a user identifier, an accessible domain, a key identifier, an
                                                            expiration time, a date, the address of the user computer, and/or an
                                                            unforgeable digital signature "such as a cryptographic hash of all of the
                                                            other items in the SID encrypted with a secret key." Specification as
                                                            filed, page 6, lines 16-21. The present invention is particularly suited to
                                                            restricting access to server sites on the World Wide Web.


                                                            A user's user name and password is verified once, at the beginning of a
                                                            session, and a SID is created upon verification.

                                                                           * * *

                                                            Upon receiving the SID from the server system, the client browser stores



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                                                         the SID. The client browser then appends the stored SID to each
                                                         subsequent request to that server system. Because just the SID (and not
                                                         the entire request) is stored, and because the SID is appended to
                                                         subsequent requests to the particular server, use of the SID is not limited
                                                         merely to a particular request but rather can extend to all subsequent
                                                         requests to the server system, thus providing the sense of a session
                                                         between the client and the server system.

                                                           * * *

                                                         The special URL [of Freeman-Benson] does not provide the sense of a
                                                         session. For example, the special URL can be shared by others, or
                                                         stored in a hotlist for later use, providing access to a particular
                                                         document until the password is changed, at which time the special URL
                                                         is no longer valid. Freeman-Benson, para. 12, page 3. Furthermore, the
                                                         special URL will again be valid if the password is changed back.
                                                         Freeman-Benson, footnote 1, page 5.

                                                         By storing the special URL, for example, in a hotlist, Freeman-Benson
                                                         stores a particular request, complete with URL, user name and password.
                                                         Such a mechanism can provide automatic validation for the particular
                                                         request, but cannot easily be extended to other requests to the same
                                                         server using different URLs. Should the user make a different
                                                         request to the same server, the user must again be prompted for user
                                                         name and password. In other words, Freeman-Benson does not teach
                                                         a client that stores some entity, e.g., a SID or other tag, that is
                                                         appended to subsequent distinct requests to a particular server.

                                                           * * *
                                                         Initially, the client [in Johnson] sends a "request for service" which
                                                         includes authorization information. The server builds a credentials record


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                                                         in response to the request, and returns to the client a credentials identifier
                                                         associated with the newly created credentials record. When the client
                                                         presents the credentials identifier in subsequent requests, the server uses
                                                         the credentials identifier to retrieve the credentials record, and from the
                                                         credentials record validates the request. Access rights are stored on the
                                                         server itself, in the credentials record, and are not included in the
                                                         credentials identifier. See, for example, Johnson, column 5, lines 50-65.

                                                           * * *
                                                         For example, Freeman-Benson teaches a "specialized URL" containing
                                                         an access key which is simply an encrypted login name and password.
                                                         Furthermore, Freeman-Benson teaches storing the specialized URL, that
                                                         is, the request (the normal URL) along with the access key. Thus, later
                                                         use of this stored specialized URL will result in a repetition of the
                                                         original request, without requiring further authorization. Freeman-
                                                         Benson does not append the specialized URL to subsequent requests -
                                                         doing so would result in a meaningless request: one URL appended by
                                                         another URL.

                                                         Applicants' invention, on the other hand, stores the SID and appends the
                                                         stored SID to each URL or request to the particular server that provided
                                                         the SID, thus defining a session. That is, subsequent requests to the
                                                         server from the browser do not require the user to enter additional
                                                         verification information, even for different requests, because the SID
                                                         which accompanies each request provides validation.

                                                         In addition, Freeman-Benson, at the time of its publication, worked with
                                                         "all existing WWW browsers." Freeman-Benson, paragraph 26, page 5,
                                                         original emphasis. Such browsers as existed at that time would not
                                                         support Applicants' claimed invention, which, as of the priority date,
                                                         required a modified browser. See Specification as filed, page 8, lines 15-


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                                                         19. Of course, "modern" browsers which support cookies are such
                                                         "modified" browsers.” Amendments and Remarks with Request for
                                                         Continued Examination – December 28, 2001 (emphasis added.)

                                                         “With this response Applicants supplement their evidence of reduction to
                                                         practice prior to the effective date of the Kahan reference. The present
                                                         application is a continuation of U.S. Patent application, serial
                                                         number 08/474,096 which subsequently issued as U.S. patent number
                                                         5,708,780 (the '780 patent). The entire teaching of the parent
                                                         specification was incorporated by reference into the continuation
                                                         application. The specification of the '780 patent includes computer code
                                                         embodying the invention.

                                                           * * *
                                                         Later, on the page that spans columns 53-54 the
                                                         TICKET_INTERTLOCALSID function performs the step of
                                                         appending the stored session identifier to each subsequent distinct
                                                         request from the client to the server.” Response To Office Action,
                                                         August 31, 2004 (emphasis added.)

                                                         “Schedule 1 describes ‘the client storing the session identifier for use in
                                                         subsequent distinct requests to the server system,’ such as on page 5 of
                                                         Schedule 1 (emphasis added):




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                                                         This passage from Schedule I describes the server providing to the client
                                                         transaction state information (i.e. "stuff_for_convenience_of_server").
                                                         The client receives this information from the server (i.e., "Server to
                                                         Client") and stores it so that when the client needs to provide a
                                                         response to the server (i.e., "Client back to Server"), the client can
                                                         locate the "stuff_for_convenience_of server" and provide this
                                                         transaction state information back to the server along wit the
                                                         response. As mentioned in this passage, the advantage of this
                                                         approach is that the server is not required to use a database to store
                                                         the state of the transaction.

                                                         Schedule I describes "appending the stored session identifier to each of


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                                                         the subsequent distinct requests from the client to the server system,"
                                                         such as on page 5 of Schedule 1 (emphasis added):




                                                         This passage from Schedule I describes that for a response from a "Client
                                                         back to Server", the client provides the "encoded-string" to the server.
                                                         The "encoded string" contains not only the username and the response,
                                                         but coupled thereto is the "stuff_for_convenience_of_server" which
                                                         contains the state information. If any subsequent response does not
                                                         contain such information, then the subsequent transaction request
                                                         would fail since the request would not contain the proper authorization
                                                         information. Accordingly as shown by the above, Schedule 1 shows



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                                                               conception of claim 3 before the effective date and thus the Kahan
                                                               reference should be removed as a reference.” Declaration of Prior
                                                               Invention at 5-7, October 19, 2006 (emphasis added.)

validating the session          validating the session         “…Such validation may include, for example, the following checks: (1)
identifier appended to the      identifier appended to the     the SID's digital signature is compared against the digital signature
service request; and            service request -              computed from the remaining items in the SID and the user IP address
servicing the service request                                  using the secret key shared by the authentication and content servers; (2)
if the appended session         checking that the session      the domain field of the SID is checked to verify that it is within the
identifier is valid.            identifier is valid without    domain authorized; and (3) the EXP field of the SID is checked to verify
                                resort to information stored   that it is later than the current time. Specification as filed, page 12, lines
                                elsewhere, such as in the      5-13.
                                server system
                                                               In one embodiment, for example, "a valid SID allows the client to access
                                                               all controlled files within a protection domain without requiring further
                                                               authorization." Specification as filed, page 7, lines 1-3. That is,
                                                               information regarding access rights is fully contained within the SID, and
                                                               need not be reentered by a user attempting to access any file within a
                                                               domain for which the user's authorization has already been verified.

                                                                       * * *

                                                               Johnson does not teach or suggest a session identifier but rather teaches a
                                                               credentials identifier. A credentials identifier is a "small value" used to
                                                               access a "credentials structure" which is maintained on the server. See
                                                               Johnson, column 5, lines 54-65. Each time a request is made, the server
                                                               reconstructs "an image of the user." Johnson, column 5, lines 40-42.
                                                               Johnson uses the credentials identifier to locate the credentials structure
                                                               from which the image of the user is reconstructed.

                                                               Applicants' invention, on the other hand, does not need to perform



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         this reconstruction, because the session identifier itself contains
                                                         sufficient information to validate that the request is authorized.

                                                         *****

                                                         For example, Freeman-Benson teaches a "specialized URL" containing
                                                         an access key which is simply an encrypted login name and password.
                                                         Furthermore, Freeman-Benson teaches storing the specialized URL, that
                                                         is, the request (the normal URL) along with the access key. Thus, later
                                                         use of this stored specialized URL will result in a repetition of the
                                                         original request, without requiring further authorization. Freeman-
                                                         Benson does not append the specialized URL to subsequent requests -
                                                         doing so would result in a meaningless request: one URL appended by
                                                         another URL.

                                                         Applicants' invention, on the other hand, stores the SID and appends the
                                                         stored SID to each URL or request to the particular server that provided
                                                         the SID, thus defining a session. That is, subsequent requests to the
                                                         server from the browser do not require the user to enter additional
                                                         verification information, even for different requests, because the SID
                                                         which accompanies each request provides validation.” Amendments
                                                         and Remarks with Request for Continued Examination, December 28,
                                                         2001 (emphasis added)

                                                         “Schedule 1 describes "validating the session identifier appended to the
                                                         service request," such as on page 2 of Schedule 1:

                                                         The Access URL is presented by the client to the server which
                                                         contains
                                                         the document purchased. This "content server" validates the access
                                                         URL,


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                                                         and if it is valid, returns the document to the client.

                                                         As shown by this passage from Schedule 1, the access information is
                                                         validated by the content server.

                                                         Schedule 1 describes "servicing the service request if the appended
                                                         session identifer is valid," such as on page 5 of Schedule 1:




                                                         This passage from Schedule I describes the client providing a response
                                                         (i.e., "Client back to Server") to the server that includes the
                                                         "stuff_for_convenience_of server" (i.e., the "state" of the
                                                         transaction). As indicated in this passage, the server checks to see if'
                                                         the session identifier has been forged or tampered with by using
                                                         "this for a digital signature of the expected response." If the digital
                                                         signature is validated, then the service request (e.g., a document) is
                                                         serviced, such as
                                                         shown on page 2 of Schedule 1:

                                                         The Access URL is presented by the client to the server which contains
                                                         the document purchased. This "content server" validates the access URL,
                                                         and if it is valid, returns the document to the client.” Declaration of Prior


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                                                               Invention at 5-7, October 19, 2006 (emphasis added.)

                                                               “User Identification and Validation : … (2) a system action that
                                                               identifies and verifies a user at logon or when a batch job is received
                                                               for processing.

                                                               Validation: the checking of data for correctness or for compliance
                                                               with applicable standards, rules, and conventions.” IBM Dictionary
                                                               of Computing, Tenth ed. (Aug. 1993) (emphasis added.)

                                                               “Validation : b: to confirm the validity of.” Merriam-Webster Dictionary

79. The method of claim 78,    initial service request -       Webster’s Ninth New Collegiate Dictionary (1987).
further comprising, in the
server system: receiving an    the first request for service   “The present invention relates to methods of processing service requests
initial service request from                                   from a client to a server through a network. In particular the present
the client;                                                    invention is applicable to processing client requests in an HTTP
                                                               (Hypertext Transfer Protocol) environment, such as the World-Wide
                                                               Web (Web). One aspect of the invention involves forwarding a
                                                               service request from the client to the server and appending a session
                                                               identification (SID) to the request and to subsequent service requests
                                                               from the client to the server within a session of requests. In a
                                                               preferred embodiment, the present method involves returning the SID
                                                               from the server to the client upon an initial service request made by
                                                               the client. A valid SID may include an authorization identifier to allow a
                                                               user to access controlled files. In a preferred embodiment, a client
                                                               request is made with a Uniform Resource Locator (URL) from a Web
                                                               browser. Where a client request is directed to a controlled file without an
                                                               SID, the Internet server subjects the client to an authorization routine
                                                               prior to issuing the SID, the SID being protected from forgery. A content
                                                               server initiates the authorization routine by redirecting the client's



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Claim Element(s)              Defendants’ Construction   Support for Construction

                                                         request to an authentication server which may be at a different host.
                                                         Upon receiving a redirected request, the authentication server returns a
                                                         response to interrogate the client and then issues an SID to a qualified
                                                         client. For a new client, the authentication server may open a new
                                                         account and issue an SID thereafter. A valid SID typically comprises a
                                                         user identifier, an accessible domain, a key identifier, an expiration time
                                                         such as date, the IP address of the user computer, and an unforgeable
                                                         digital signature such as a cryptographic hash of all of the other items in
                                                         the SID encrypted with a secret key. The authentication server then
                                                         forwards a new request consisting of the original URL appended by the
                                                         SID to the client in a REDIRECT. The modified request formed by a
                                                         new URL is automatically forwarded by the client browser to the content
                                                         server.” 3: 6-41 (emphasis added)

                                                         “If the request is directed to a controlled page, the content server
                                                         determines whether the URL contains an SID 102. For example, a URL
                                                         may be directed to a controlled page name "report", such as
                                                         "http://content.com/report", that requires an SID. If no SID is present, as
                                                         in this example, the content server sends a "REDIRECT" response 122 to
                                                         the browser 100 to redirect the user's initial request to an
                                                         authentication server 200 to obtain a valid SID. The details of the
                                                         authentication process are described in FIG. 2B and will be
                                                         discussed later, but the result of the process is an SID provided from
                                                         the authentication server to the client. In the above example, a
                                                         modified URL appended with an SID may be:
                                                         "http://content.com/[SID]/report". The preferred SID is a sixteen
                                                         character ASCII string that encodes 96 bits of SID data, 6 bits per
                                                         character. It contains a 32-bit digital signature, a 16-bit expiration date
                                                         with a granularity of one hour, a 2-bit key identifier used for key
                                                         management, an 8-bit domain comprising a set of information files to
                                                         which the current SID authorizes access, and a 22-bit user identifier. The


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                                                                 remaining bits are reserved for expansion. The digital signature is a
                                                                 cryptographic hash of the remaining items in the SID and the authorized
                                                                 IP address which are encrypted with a secret key which is shared by the
                                                                 authentication and content servers. If the initial GET URL contains a
                                                                 SID, the content server determines whether the request is directed to a
                                                                 page within the current domain 106. If the request having a SID is
                                                                 directed to a controlled page of a different domain, the SID is no longer
                                                                 valid and, again, the user is redirected to the authentication server 122. If
                                                                 the request is for a controlled page within the current domain, the content
                                                                 server proceeds to log the request URL, tagged with SID, and the user IP
                                                                 address in the transaction log 108. The content server then validates the
                                                                 SID 110.” 5: 42-6:8 (emphasis added.)

                                                                 ‘639 Patent, FIGS 2A-3.

creating, responsive to the     creating, responsive to the      Webster’s Ninth New Collegiate Dictionary (1987).
initial service request, the    initial service request, the
session identifier; and         session identifier-              “The present invention relates to methods of processing service requests
returning the session                                            from a client to a server through a network. In particular the present
identifier to the client for    creating, based on a type of     invention is applicable to processing client requests in an HTTP
storage by the client for use   the first request for service,   (Hypertext Transfer Protocol) environment, such as the World-Wide
in subsequent distinct          the session identifier           Web (Web). One aspect of the invention involves forwarding a
requests to the server                                           service request from the client to the server and appending a session
system.                         subsequent distinct              identification (SID) to the request and to subsequent service requests
                                requests-                        from the client to the server within a session of requests. In a
                                                                 preferred embodiment, the present method involves returning the SID
                                every request for a separate     from the server to the client upon an initial service request made by
                                and different service            the client. A valid SID may include an authorization identifier to allow a
                                                                 user to access controlled files. In a preferred embodiment, a client
                                                                 request is made with a Uniform Resource Locator (URL) from a Web
                                                                 browser. Where a client request is directed to a controlled file without an



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                                                         SID, the Internet server subjects the client to an authorization routine
                                                         prior to issuing the SID, the SID being protected from forgery. A content
                                                         server initiates the authorization routine by redirecting the client's
                                                         request to an authentication server which may be at a different host.
                                                         Upon receiving a redirected request, the authentication server returns a
                                                         response to interrogate the client and then issues an SID to a qualified
                                                         client. For a new client, the authentication server may open a new
                                                         account and issue an SID thereafter. A valid SID typically comprises a
                                                         user identifier, an accessible domain, a key identifier, an expiration time
                                                         such as date, the IP address of the user computer, and an unforgeable
                                                         digital signature such as a cryptographic hash of all of the other items in
                                                         the SID encrypted with a secret key. The authentication server then
                                                         forwards a new request consisting of the original URL appended by the
                                                         SID to the client in a REDIRECT. The modified request formed by a
                                                         new URL is automatically forwarded by the client browser to the content
                                                         server.” 3: 6-41 (emphasis added)

                                                         “FIG. 2A is a flowchart detailing the preferred process of the present
                                                         invention and FIG. 4 illustrates a sample Web page displayed at a client
                                                         by a browser. The page includes text 404 which includes underlined link
                                                         text 412. The title bar 408 and URL bar 402 display the title and URL of
                                                         the current web page, respectively. As shown in FIG. 4, the title of the
                                                         page is "Content Home Page" and the corresponding URL is
                                                         "http://content.com/homepage". When a cursor 414 is positioned over
                                                         link text 412b, the page which would be retrieved by clicking a mouse is
                                                         typically identified in a status bar 406 which shows the URL for that
                                                         link. In this example the status bar 406 shows that the URL for the
                                                         pointed link 412b is directed to a page called "advertisement" in a
                                                         commercial content server called "content". By clicking on the link text,
                                                         the user causes the browser to generate a URL GET request at 100 in
                                                         FIG. 2A. The browser forwards the request to a content server 120,


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                                                         which processes the request by first determining whether the requested
                                                         page is a controlled document 102. If the request is directed to an
                                                         uncontrolled page, as in "advertisement" page in this example, the
                                                         content server records the URL and the IP address, to the extent it is
                                                         available, in the transaction log 114. The content server then sends
                                                         the requested page to the browser 116 for display on the user
                                                         computer 117.

                                                         If the request is directed to a controlled page, the content server
                                                         determines whether the URL contains an SID 102. For example, a
                                                         URL may be directed to a controlled page name "report", such as
                                                         "http://content.com/report", that requires an SID. If no SID is present, as
                                                         in this example, the content server sends a "REDIRECT" response 122 to
                                                         the browser 100 to redirect the user's initial request to an
                                                         authentication server 200 to obtain a valid SID. The details of the
                                                         authentication process are described in FIG. 2B and will be
                                                         discussed later, but the result of the process is an SID provided from
                                                         the authentication server to the client. In the above example, a
                                                         modified URL appended with an SID may be:
                                                         "http://content.com/[SID]/report". The preferred SID is a sixteen
                                                         character ASCII string that encodes 96 bits of SID data, 6 bits per
                                                         character. It contains a 32-bit digital signature, a 16-bit expiration date
                                                         with a granularity of one hour, a 2-bit key identifier used for key
                                                         management, an 8-bit domain comprising a set of information files to
                                                         which the current SID authorizes access, and a 22-bit user identifier. The
                                                         remaining bits are reserved for expansion. The digital signature is a
                                                         cryptographic hash of the remaining items in the SID and the authorized
                                                         IP address which are encrypted with a secret key which is shared by the
                                                         authentication and content servers. If the initial GET URL contains a
                                                         SID, the content server determines whether the request is directed to a
                                                         page within the current domain 106. If the request having a SID is


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                                                         directed to a controlled page of a different domain, the SID is no longer
                                                         valid and, again, the user is redirected to the authentication server 122. If
                                                         the request is for a controlled page within the current domain, the content
                                                         server proceeds to log the request URL, tagged with SID, and the user IP
                                                         address in the transaction log 108. The content server then validates the
                                                         SID 110.” 5: 18-6:8 (emphasis added.)

                                                         ‘639 Patent, FIGS 2A-3.




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